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                       Exhibit 1
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                                  Compensation Framework for Business Claims1
                                                                August 30, 2011

             The framework outlined below applies to business claims.

             Overview:           Calculate 2010 damages by establishing the following elements:2

                        1.       Calculate revenue lost due to the DH spill based on the difference between (i) revenue
                                 expected in the absence of the DH spill (“expected” revenue); and (ii) actual revenue
                                 for the period commencing on or after May 1 and any date up to December 31, 2010
                                 (“claimed loss period”).

                        2.       Calculate profits lost as a result of the DH spill by deducting costs that would have
                                 been incurred in generating revenue lost as a result of the DH spill.

                        3.       Determine claimant compensation by deducting sums received in connection with the
                                 DH spill.

             Detailed Explanation:

                        1.       Determination of claimants’ lost revenue

                                 A.       The “claimant benchmark” period is defined as the claimant’s chosen period
                                          in which to supply revenue data from one of the following three options: (i)
                                          2007-2009, (ii) 2008-2009, or (iii) 2009.

                                 B.       “Expected” revenue is calculated by multiplying claimant’s revenue for the
                                          “claimed loss period” in the “claimant benchmark” period by two factors that
                                          attempt to account for conditions affecting post-spill revenue unrelated to the
                                          spill: (i) a claimant-specific factor; and (ii) an industry factor.

                                 C.       Claimant-specific factor

                                          i.       The claimant-specific factor attempts to account for conditions that
                                                   affected claimant’s revenue in the pre-spill period (relative to the
                                                   “claimant benchmark” period) that also would be expected to affect
                                                   revenue in the post-spill period (relative to “claimant benchmark”
                                                   period). Examples of such conditions might include the entry or exit


             1
               This Compensation Framework pertains only to claimants that generated revenue in 2009. Excluded
             businesses are (i) businesses engaged in commercial fishing, processing, and distribution; (ii) start-up businesses;
             (iii) businesses claiming to have ceased operations due to the spill; (iv) development and construction
             businesses; (v) gaming businesses; and (vi) banks [+ others subject to further discussion].
             2
                 All damages paid will be paid on a pre-tax basis.

                                                                      1

HIGHLY CONFIDENTIAL                                                                                                                 000525
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                                           of a competitor or changes in economy-wide conditions that would
                                           affect claimant revenue in both the pre-spill and post-spill period.

                                   ii.     The claimant-specific factor is calculated as the percentage change in
                                           the claimant’s revenue in the relevant “pre-spill months” (defined in
                                           ii.a below) relative to the same months in the “claimant benchmark”
                                           period.

                                           a.        ”Pre-spill months” shall be defined as January-April 2010.

                                           b.        If the claimant selects 2009 as the “claimant benchmark”
                                                     period, the claimant-specific factor is calculated as the
                                                     claimant’s percentage revenue growth between Jan-April
                                                     2010 and Jan-April 2009. If the claimant-specific factor is 3%
                                                     (-3%), then the claimant’s “expected” revenue for “the
                                                     claimed loss period” is 3% higher (lower) than claimant’s
                                                     actual revenue in May-December 2009. Because the
                                                     claimant-specific factor is applied to “the claimed loss period”
                                                     revenue in the “claimant benchmark” period, “expected”
                                                     revenue is constructed to account for claimant-specific
                                                     revenue growth prior to the spill.

                                           c.        Alternatively, for example, if the claimant selects 2008-09 as
                                                     the “claimant benchmark” period, the claimant-specific factor
                                                     is calculated as the claimant’s percentage revenue growth
                                                     between Jan-April 2010 and the claimant’s average revenue in
                                                     January-April 2008 and January-April 2009:

                                                     [Rev (Jan-April 2010) / .5*[Rev (Jan-April 2008) + Rev (Jan-April 2009)]]-1

                                                     If this factor is 10% (-10%), then the claimant’s “expected”
                                                     revenue for “the claimed loss period” 2010 is 10% higher
                                                     (lower) than the claimant’s average revenue in May-
                                                     December 2009 and May-December 2008.

                            D.     Industry factor

                                   i.      The industry factor accounts for factors that were likely to affect the
                                           claimant’s performance in the “claimed loss period” in the absence of
                                           the spill unrelated to changes expected based on claimant-specific
                                           effects. The industry factor would capture, for example, an increase
                                           (decrease) in May-December 2010 tourism revenue relative to the
                                           same period in the “industry benchmark” period that is different than



                                                                    2

HIGHLY CONFIDENTIAL                                                                                                                000526
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                                          the increase (decrease) in “pre-spill months” tourism revenue relative
                                          to the same months in the “industry benchmark” period.

                                   ii.    The industry factor is calculated by identifying benchmark regions
                                          likely unaffected by the DH spill, where tourism trends track with
                                          those in the Gulf areas, and then calculating the difference between
                                          (i) the percentage change in revenue between May-December 2010
                                          and May-December in the “industry benchmark” period, and (ii) the
                                          percentage change in revenue between the pre-spill months of 2010
                                          and the same months in the “industry benchmark“ period.

                                          a.      The “industry benchmark” period is defined as 2007-2009.
                                                  Accordingly, the industry factor would be calculated as
                                                  follows: If (i) Jan-April 2010 revenue is 3% above the average
                                                  Jan-April revenue from 2007-2009 and (ii) May-December
                                                  2010 revenue is 6% above the average May-December
                                                  revenue from 2007-2009, then the industry factor would be
                                                  3% (= 6%-3%).

                                          b.       If the industry factor is 3% (-3%), then the claimant’s
                                                  “expected” revenue for May-December 2010 is 3% higher
                                                  (lower) than claimant’s actual revenue in May-December
                                                  calculated as an average across 2007-2009 (assuming a
                                                  claimant-specific factor of zero).

                                   iii.   Proposed estimation of the industry factor

                                          a.      The DelMarVa areas (Sussex County DE and Worcester County
                                                  MD) provide an economically appropriate benchmark area for
                                                  calculating the industry factor.

                                          b.      Average revenue for 2007-2009 will be used as the baseline.
                                                  Smith Travel Research (“STR”) provides best available
                                                  indicator for the tourism industry, specifically STR’s Revenue
                                                  per Available Room (“RevPAR”) .

                            E.     Calculation of “expected” revenue

                                   i.     The claimant’s “expected” revenue for the post-spill is calculated
                                          based on (i) the claimant’s revenue in May-December of the “claimant
                                          benchmark” period; (ii) the claimant-specific factor; and (iii) the
                                          industry factor.

                                   ii.    For example, if the claimant factor is +3% and the industry factor is
                                          +3%, and the claimant’s revenue in May-December of the “claimant

                                                             3

HIGHLY CONFIDENTIAL                                                                                                000527
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                                             benchmark” period is X, then “expected” revenue is calculated as
                                             X*(1+.03)*(1+.03).

                                    iii.     Lost revenue is calculated as the difference between actual revenue in
                                             “the claimed loss period” and “expected” revenue.

                    2.      Calculation of lost profits

                            A.      The claimant’s lost profits reflect the difference between (i) claimant’s lost
                                    revenue, and (ii) the incremental costs that claimant would have incurred in
                                    generating lost revenue, calculated as follows:

                                    i.       Identify the claimant’s incremental costs including, among others, raw
                                             materials, hourly wages and commissions, utilities, inventory, office
                                             supplies, packaging/mailing/shipping costs, overhead related to lost
                                             revenue. The scope of costs included in this calculation may vary
                                             based on the claimant’s industry.

                                    ii.      Calculate the claimant’s variable margin, defined as revenue minus
                                             incremental costs, expressed as a percentage of revenue. The
                                             variable margin is calculated using data that corresponds to the
                                             “claimant benchmark” period. [Parties will continue to explore
                                             whether it is possible to identify industry-specific measures of variable
                                             margins.]

                                    iii.     Calculate lost profits as the product of (i) lost revenue and (ii) variable
                                             profit margin.

                            B.      Calculation of claimant compensation

                                    i.       Claimants will be compensated for their lost profits less other income
                                             earned by claimants and any OPA payments received. This includes:

                                             a.       OPA payments (from BP and/or the GCCF)
                                             b.       Business interruption income; and
                                             c.       Other income of the following types: (i) all income resulting
                                                      from the incident; (ii) all income from alternative employment
                                                      or business undertaken; and (iii) potential income from
                                                      alternative employment or business not undertaken, but
                                                      reasonably available.




                                                                4

HIGHLY CONFIDENTIAL                                                                                                        000528
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                                                Example of Compensation Calculation
                                                                                                                       3
                                                                                          Jan-April         May-Dec


                        Elements of “Expected” Revenue Calculation
                                               4
                        Based on Claimant Data
                              Avg. 2008-2009                           [A]                $1,000
                                   2010                                [B]                $1,030
                          Claimant-specific Factor              [C] = [(B-A) / A]           +3%


                        Based on Industry Data
                              Avg. 2007-2009                           [D]                 $100               $100
                                   2010                                [E]                 $103               $106
                                                                [F] = [(E-D) / D]           +3%                +6%
                              Industry Factor               [G] = [FMay-Dec - FJan-Apr]               +3%


                        Compensation Calculation
                        Avg. 2008-2009 Revenue        [H]                                                     $3,000



                        2010 "Expected" Revenue       [I] = [H * (1+C)*(1+G)]                                 $3,183


                        2010 Actual Revenue           [J]                                                     $2,000

                        2010 Lost Revenue             [K] = [I - J]                                           $1,183

                        Variable Margin               [L]=50%

                        2010 Lost Profit              [M] = [K * L]                                           $591


                        2010 Other Income             [N]                                                     $100

                        2010 Claimant                 [O] = [M - N]                                           $491
                        Compensation




             3
                 In this example the claimant has selected May-December 2010 as its “claimant loss” period.
             4
                 In this example the claimant has selected 2008-2009 as its “claimant benchmark” period.

                                                                               5

HIGHLY CONFIDENTIAL                                                                                                        000529
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                       Exhibit B
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                          Compensation Framework for Business Claims 1
                                                    August 30, 2011

    The framework outlined below applies to business claims.

    Overview:         Calculate 2010 damages by establishing the following elements: 2

             1.       Calculate revenue lost due to the DH spill based on the difference between (i) revenue
                      expected in the absence of the DH spill ("expected" revenue); and (ii) actual revenue
                      for the period commencingp ll ()r_ after May 1 and any date up to December 31, 2010                 [ Fonnatted: Highlight
                      ("claimed loss period"). WHY ARE WE LIMITED TO 8 MONTHS (MAY - DEC 2010)
                      INSTEAD OF A FULL YEAR /MAY 2010 - APR 20111? If losses extend further. request               ---
                      additional claim .

            2.       Calculate profits lost as a result of the DH spill by deducting costs that would have
                     been incurred in generating revenue lost as a result of the DH spill.

            3.       Determine claimant compensation by deducting sums received in connection with the
                     DH spill.

    Detailed Explanation:

            1.       Determination of claimants' lost revenue

                     A.       The "claimant benchmark" period is defined as the claimant's chosen period
                              in which to supply revenue data from one of the following three options: (i)
                              l 007-2009, (ii) 2008~200~, or (iii) 2009. We go back 5 years 12005-2009)                   ( Fonnatted: Highlight

                     B.       "Expected" revenue is calculated by multiplying claimant's revenue for the
                              "claimed loss period" in the "claimant benchmark" period by two factors that
                              attempt to account for conditions affecting post-spill revenue unrelated to the
                              spill: (i) a claimant-specific factor; and (ii) an industry factor.

                     C.       Claimant-specific factor

                              I.       The claimant-specific factor attempts to account for conditions that
                                       affected claimant's revenue in the pre-spill period (relative to the
                                       "claimant benchmark" period) that also would be expected to
                                       POSITIVELY affect revenue in the post-spill period (relative to                    ( Fonnatted: Highlight


1
  This Compensation Framework pertains only to claimants that generated revenue in 2009. Excluded
businesses are (i) businesses engaged in commercial fishing, processing, and distribution; (i iJ start-up businesses;   I Formatted: Hlgl11lght
{iii) businesses claiming to have ceased operations due to the spill; (iv) development and construction
businesses; (v) gaming businesses; and (vi) banks[+ others subject to further discussion].
2
    All damages paid will be paid on a pre-tax basis.

                                                           1
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                  "claimant benchmark" period). Examples of such conditions might
                  include the entry or exit of a competitor or changes in economy-wide
                  conditions that would affect claimant revenue in both the pre-spill
                  and post-spill period.

           ii.    The claimant-specific factor is calculated as the percentage change in
                  the claimant's revenue in the relevant "pre-spill months" (defined in
                  ii.a below) relative to the same months in the "claimant benchmark"
                  period.

                  a.        "Pre-spill months" shall be defined as January-April 2010.

                  b.        If the claimant selects 2009 as the "claimant benchmark"
                            period, the claimant-specific factor is calculated as the
                            claimant's percentage revenue growth between Jan-April
                            2010 and Jan-April 2009. If the claimant-specific factor is 3%
                            (-3%), then the claimant's "expected" revenue for "the
                            claimed loss period" isJ% hig~er (lower) than claimant's                          ( Formatted: Highlight
                            actual revenue in May-December 2009. Because the
                            claimant-specific factor is applied to "the claimed loss period"
                            revenue in the "claimant benchmark" period, "expected"
                            revenue is constructed to account for claimant-specific
                            revenue growth prior to the spill.

                  c.        Alternatively, for example, ifthe claimant selects 2008-09 as
                            the "claimant benchmark" period, the claimant-specific factor
                            is calculated as the claimant's percentage revenue growth
                            between Jan-April 2010 and the claimant's average revenue in
                            January-April 2008 and January·April 2009:

                            [Rev (Jan·April 2010) / .5 • [Rev (Jan·April 2008) + Rev (Jan·April 2009) )J· 1


                            Jfthis factor islO% {~10%), then the claimar~t's "expected"                       ( Formatted: Highlight
                            revenue for "the claimed loss period" 2010 is 10% higher
                            (lower) than the claimant's average revenue in May-
                            December 2009 and May-December 2008.

     D.   Industry factor

          I.      The industry factor accounts for factors that were likely to affect the
                  claimant's performance in the "claimed loss period" in the absence of
                  t he spill unrelated to changes expected based on claimant-specific
                  effects. The industry factor would capture, for example, an j ncreas~                       [ Formatted: Highlight
                  (decrease) in May-December 2010 tourism revenue relative to the


                                           2
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                    same period in the "industry benchmark" period that is different than
                    the increase (decrease) in "pre-spill months" tourism revenue relative
                    to the same months in the "industry benchmark" period.

             II.    The industry factor is calculated by identifying benchmark regions
                    likely unaffected by the DH spill, where tourism trends track with
                    those in the Gulf areas, and then calculating the difference between
                    (i) the percentage change in revenue between May-December 2010
                    and May-December in the "industry benchmark" period, and (II) the
                    percentage change in revenue between the pre-spill months of 2010
                    and the same months in the "industry benchmark" period.

                    a.      The "industry benchmark" period is defined as 2007-2009.
                            Accordingly, the industry factor would be calculated as
                            follows: If (i) Jan-April 2010 revenue is 3% above the average
                           Jan-April revenue from 2007-2009 and (ii) May-December
                            2010 revenue is el% above the average May-December
                            revenue from 2007-2009, then the industry factor would be
                           31% (= el%-3%).

                    b.      If the industry factor is 3% (-3%), then the claimant's
                            "expected" revenue for May-December 2010 is .3.'}6 hLg~~r_        r Formatted: Highlight
                           (lower) than claimant's actual revenue in May-December
                           calculated as an average across 2007-2009 (assuming a
                           claimant-specific factor of zero).

            iii.   Proposed estimation ofthe industry factor

                   a.      Thepel~arVa areils_(~ussex _f5l!:J"-ty D~ ~l'ld Wor_cesterf~unty   rFormatted: Highlight
                           MD) provide an economically appropriate benchmark area for
                           calculating the industry factor. WHY THIS AREA? SUGGEST A
                           BLENDED SET OF SIMILAR COMMUNITIES.

                   b.      Average revenue for 2007-2009 will be used as the baseline.
                           Smith Travel Research ("STR") provides best available
                           indicator for the tourism industry, specifically STR's Revenue
                           per Available Room ("RevPAR") .

       E.   Calculation of "expected" revenue

            I.     The claimant's "expected" revenue for the post-spill is calculated
                   based on (i) the claimant's revenue in May-December of the "claimant
                   benchmark" period; (ii) the claimant-specific factor; and (iii) the
                   industry factor.


                                      3
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              ii.     For example, if the claimant factor is +3% and the industry factor is
                      +~%,and the claimant's revenue in May-December of the "claimant
                      benchmark" period is X, then "expected" revenue is calculated as
                      X*(l+.03)'"(1+.~4).


             !il.     Lost revenue is calculated as the difference between actual revenue in
                      "the claimed loss period" and "expected" revenue.

2.   Calculation of lost profits

     A.      The claimant's lost profits reflect the difference between (i) claimant's lost
             revenue, and (ii) the incremental costs that claimant would have incurred in
             generating lost revenue, calculated as follows:

             I.       Identify the claimant's incremental costs including, among others, raw
                      materials, hourly wages and commissions, utilities, inventory, office
                      supplies, packaging/mailing/shipping costs, overhead related to lost
                      revenue. The scope of costs included in this calculation may vary
                      based on the claimant's industry.

             ii.      Calculate the claimant's.~ariabl~ 111a~ginl.bQ!L defined as revenue           l Formatted: Highlight
                      minus Cost of Goods Sold !COGS). plus Fixed COGS Expenses (e.g.
                      Salaries. Equipment Depreciation, etc. I minus incremental (aka
                      Variable! costs (e.g. Credit Card Fees. etc.J. expressed as a percentage
                      of revenue. The variable margin is calculated using data that
                      corresponds to the "claimant benchmark" period. [Parties will
                      continue to explore whether it is possible to identify industry-specific
                      measures of variable margins.]

             ii i.    Calculate lost profits as the product of (i) lost revenue and (ii) variable
                      profit margin (LOll.

             NOTE: The above calculation (2.A) onlv represents the Revenue Trend Analysis
                      methodology. As suc:h. it fails to recognile monthly PROFIT
                      fluctuations due to unique business operation and/or seasonality.
                      Suggest adding the following call:ulatian~:

                      1. Gross Profit using Average Annual LOI (a !sa Variable Marp;in!             Formatted: List Paragraph, Numbered +
                                                                                                    Level: 1 + Numbering Style: 1, 2, 3, ... + Start
                      2. Gross Proftt using Average MONTHLY LOI (aka Variable Margin)               at: 1 + Alignment: Lelt + Aligned at: 2" +
                                                                                                    Indent at: 2.25"
                                                                                                     Formatted: Indent: First line: 0"        -
     B.     Calculation of claimant compensation !Lawver stuff)




                                         4
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           I.   Claimants will be compensated for their lost profits less other income
                earned by claimants and any OPA payments received. This includes:

                a.      OPA payments (from BP and/or the GCCF) credited at the end
                of RTP application .
                b.      BusiAess iAterruptieA iAceffie; aRe
           e.   Oti'ler iAeome-64Re fellewiAg t'fPeSi (i) all iAcoffie-~eSulting from the •   [ Formatted: Indent: Lett: 1.5"
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                                    Example of Compensation Calculation

                                                                                Jan-Ap ril   M ay•Dec •



           Elements of "EKoected" Revenue Calculation
           Based on Claimant Data•
                  Avg. 2008-2009                            [AI                  $1,000
                       2010                                 [B]                  $1,030
              Claimant-specific Factor              (CJ = [(B-A) I A)             +3%



           Based on Industry Data
                  Avg. 2007-2009                            [D)                   $100         $100
                       2010                                 [E]                  $103         $101S
                                                   [F] 2 [(E·D) I Dl              +3%          +1&%
                  Industry Factor              [G) = [FM,,.0 ,. • F,,.,.,,.,J


           Campensation Calculqtlon
           Avg. 2008·2009 Revenue        [HI                                                  $3,000


           2010 "Expected" Revenue       [I]= [H • (1+C)"(l+G)]



           2010 Actual Revenue           [JJ                                                  $2,000

           2010 lost Revenue             [K] = (I·J]

           Variable Margin               (L]=SO%


           2010 Lost Profit              (M] =[K • L]



           ] 010 qtll~ !n~om~            [N]                                                              lFormatted: Highlight
                                                                                                           Formatted: Highlight
           2010 Claimant                 [0] =[M-N]
           Compensation




                                                                                                          ( formatted: Highlight



4
    In this example the daimant has selected 2008-2009 as its "claimant benchmark" period.


                                                                   6
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                       Exhibit C
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                                                Produc d
                                                       e Pursuant to
                                                      Rule 40B




  Loss Calculation Method:

     BP Position: BP's position is to use net. income and then come up to fincf your
        loss, versus taking gross profit and going down.

      PSC Position: The PSC believes calculating the lost profit from the pre-tax
        operatintfincome as prop(jsedby'BP makes it•itfuth''more·confusing, less
        userfriendly I arid requires hnjd"' mOre explanation ofhow it works. This
        a.PP.i()ach:.w()uJ~,r~quir~. listed every;.-r.x:~p $G&A, f;~p~nse)t~ro on the P&L
        which would'be{ve'ry laborious arid error~"prone~ .                 .

         We s~an~_.by our positiQn t~~t YOL! star:t Yf!th _gross profit.~mq you adjust it
         for a fi~ecfcost.i>f.gqp~s.-,sql~:and v.,arjabiE;{SGMJtems ~() .d~¢ermine lost
         prof,its.:
         .
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                    :It is. •im,port;.tot·. :m:ote ·tha,t ·the$~. .9d)ustments ·CF!xe~ COGS and
                                         -


       · S.G&A items}.?r~rver.y_liqt~;tedapd, tl1er~fore 1 much eas[er-.toexplain and
         work with.


  Loss Period Definition:

     BP Position: Limiting "qaimed Loss. Period"to May 1, 2010 through
        Dece'p}ber. 31, io10, 8 Months.       '··    .          ·

    .PSC Position: ·nle'~P-SGr$.,PQ.$iijof1 i;;·'y9li us~. r.1c~tyi~·.zpl.Q'thnl,ug(J April 30,
         2011, which is a ful.l year~. Iricludin.g a·full12 month post,;.spiil business
      .. cycle, wi.ll, i_nclude lost pr()f.its:t~t ·may.app~ar 1n the eqrly 2011 for
         businesses ·With· significant: operations during the· first four. months of the
        year~




  Calculating the Variable Margin, a/k/a Loss of Income Ratio I LOI.

    BP Position: BP's position is to base this on a calendar year of January to
       December benchmark.

    PSC Position: PSC's position is you should use the 12 months from May to
      April benchmark to calculate the pre-spill variable margin. This is
      consistent with the post-spill period for which we are trying to calculate
       monthly Lost Profits.
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Growth Factor Calculation Methodology:

       1. The "Expected Po~t-Spill M~nthly Revenue;, calculation includes:

                        a•. Calculate the Allf!(Qge Histqrico/ll(lonthly_Re,venue (Rev.Base) based qn.Z007, 2008
                         ... · . and/or,2.QQ9.
                                    -~
                                    ; . . .
                                                 Keeping
                                             . J ,.
                                                           in ~in~.
                                                       . . . , -· - : ,
                                                                             that- this th:neframe
                                                                        , .:· .           •.  , -.
                                                                                                   incl~des    ~ne,. . Qt'the.~or5t
                                                                                                         , . ":-       . .I .      :
                                                                                                                                     economic
                                 periods in history. Thi~ ~E;!termines our lost revenue foum;lciltion, but does NOT
                                 recognize ~ny year~t~ye'ar (2009 to 2010) ~rdWt:h that ~xisted immecti~tely prior to
 1   .··-·




                             the oil spill.                                                ·.       · --       -~                                    , ,


                        b. · 'C~Icufate the G~o..;JI,          FaCtor (Gto~~ Factoh ~omparing Jan ..:.~,Apr 2009 and Jan-
                                                                              Trend
                              . Apr.ioio re"enl.et6' determine ifa positiv~ gro,\vth:trend existed·'i.mrhediately prior to
                                the oil spilL hi other wtirds; was tliere·an indication'thatthtfclaimant·was experiencing
                           ·.. revenue··groWth and climbing out dfthe'recession·atthe'timeofthe dilspifl? If so, the
                                claimant would have experienced Lost Growth that was not included.inthe:Average
                                Historical Revenue (see 1-a) and, therefore, must be ADDED to the Rev Base.

      2.     Based on the above statements, I submit the following conclusion:

                        a. The Rev Bose and t'i,.l,~h Facto~ calCulations must be viewed independently.
                            Accordingly, the Growth Factor should ahiVays:be calculated as the increase-of 2009 to ·
                            :?OlQ t>ecause t.his recent year-to-year comparison represents the best measurement of
                           ·projt'!cted growth for..the post:.spill.period (tvi~y 20io..; Fwd).   .··      ·
                            ; : ~ : :__·   ' .. ..   '· . :) . ,--. ;-   .'     ;j: ·' .   !    •    -.    '        '1   .         .,        '   .   . .:   :·!


                    : b. :The Growth Factor by definition js a positive item which, if:present, shourd be calculated
                          ·to compensate the Claimant for such loss. However, when the cak:ulation: results in a
                           negative number, it should not be used to reduce the claimant's overall ~o!jt Profits.



             ···.. ·.                                                                                                                                             .: . . .:~ ·. .
                                                              •. :1




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loss Calculation Methods Definitions

Calculations Methods:
    A. Revenue Trend
    B. Gross Profit using Monthly Variable Margin (aka LOI)

   A. Revenue Trend Criteria:

            a.   Required documents include:
                      i. Monthly P&Ls
                     ii. Federal Income Tax Returns
                    iii. List of Fixed Cost of Goods Sold Expenses (see example list)
                    iv. List of Variable SG&A Expenses (see example list)

   B. Gross Profit Method using Monthly Variable Margin Criteria:

            a.   Required documents include:
                      i. Monthly P&Ls
                     ii. Federal Income Tax Returns
                    iii. List of Fixed Cost of Goods Sold Expenses (see example list)
                    iv. List of Variable SG&A Expenses (see example list)

            b.   Monthly accounting records must be consistently maintained such that the monthly
                 Gross Profit and Gross Profit Margin are reliable.

           c.    Business should exhibit significant monthly revenue and/or gross profit fluctuations due
                 to seasonal and/or monthly business operation.

   C.   Fixed Cost of Goods Sold Items (Fixed COGS):

           a.    COGS expenses that do not fluctuate with sales revenue or production volume are
                 considered Fixed Expenses and must be added back to Gross Profit to determine the
                 Variable Margin Rate. Examples include, but are not limited to :
                      i. Fixed management salaries and benefits
                     ii. Depreciation on equipment

   D. Variable SG&A Items:

           a.    SG&A expenses that fluctuate with sales revenue are considered Variable Expenses and
                 must be subtracted from Gross Profit to determine the Variable Margin Rate. Examples
                 include, but are not limited to :
                       i. Commissions
                      ii. Bad debts
                     iii. Credit card fees
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                       Exhibit D
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..•.·

        · · ·Claims Data Collection Pioceduie

          The purpose of this document is to outline the steps required to gather data required to prepare a
          business oil spiii'Jos·s ·claim. '                                                              ·      -····
              1.   Claimant presents required documents (P&Ls, tax returns, etc.) as described previously.

              2.   Documents from #.1 are"·revtewed tiy'accountant'to determine acceptability:

              3.   Accountant discusses quality and quantity of data with claimant and asks the following questions:

                         a. Does COGS include any Fix Expense items such as deprec1ation, management salaries,
                         .• · ·i)'lterest expense, etc. ?.If yes, claimant is asked to provide detailed monthly COGS
                              •.   4           ~     '   •   •   .



                               worksheet separating Fixed vs Variable Expense items.

                         b.    Does SG&A include any Variable Expense items such as sales commissions, credit card
                               fees, bad debts, etc. If yes, these items are identified on the P&L

             4.    Accountant reviews information received for #3a and #3b. If reviewed items appear reasonable
                   relative monthly revenues, these amounts are used to calculate Variable Margin as follows:
                        a. [(Benchmark Gross Profit+ Fixed COGS- Variable Expenses) I Benchmark Revenue]




                                               f"•




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                                                                                      Produced Pursuant To Rule 408
                                                                                                         9/28/2011
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        Data Entry: Adjustments (ALT)
        May - Dec 2007, 2008, 2009 & 2010

                       Adjustments                           May-07            Jun-07           Jul-07           Aug-07           Sep-07           Oct-07           Nov-07           Dec-07       Per-13       TOTAL

    Cost of Goods Sold:
        Depreciation-Equip                                        2,761           4,937              2,779           2,797           2,775             2,748            2,775            2,789             $       24,361
        Amortization                                                                                                                                                                                                    -
      * Adjust from standard to actual cost                    (157,525)          4,076           (46,773)         (25,662)         14,940           (44,159)         (16,619)         (81,645)                  (353,367)

        Total COGS Adjustments                           $     (154,764) $        9,013 $         (43,994) $       (22,865) $       17,715 $         (41,411) $       (13,844) $       (78,856)            $     (329,006)

    SG&A Expenses:
       Depreciation                                                                                                                                                                                        $            -
       Amortization                                                                                                                                                                                                     -

        Total SG&A Adjustments                           $            -    $            -   $            -   $            -   $            -   $            -   $            -   $            -            $            -


    *   Some claimants (e.g. Seafood Processors) may
        report monthly processing costs using standard
        cost accounting systems. In these instances,
        COGS must be adjusted to reflect the ACTUAL
        monthly costs.




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      May-08            Jun-08           Jul-08           Aug-08           Sep-08            Oct-08           Nov-08           Dec-08       Per-13       Total


           2,618           2,618             2,618           2,618              2,595            2,618            2,618            2,618             $      20,921
                                                                                                                                                                 -
        (128,560)         11,113           42,131            1,749           (135,793)         (13,851)         (79,714)        (114,401)                 (417,326)

  $     (125,942) $       13,731 $         44,749 $          4,367 $         (133,198) $       (11,233) $       (77,096) $      (111,783)            $    (396,405)


                                                                                                                                                     $           -
                                                                                                                                                                 -

  $            -    $            -   $            -   $            -   $            -    $            -   $            -   $            -            $           -




PRODUCED PURSUANT TO RULE 408, 10/17/2011                                                                                                                             Page 2 of 4
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      May-09            Jun-09           Jul-09           Aug-09           Sep-09           Oct-09           Nov-09       Dec-09       Per-13       Total


           2,341            2,291            2,341           2,341             2,341            2,341            2,341         2,341            $ 18,678
                                                                                                                                                       -
        (207,376)         (51,885)         (54,102)         5,800            126,030          18,483           88,424         89,286              14,660

  $     (205,035) $       (49,594) $       (51,761) $       8,141 $          128,371 $        20,824 $         90,765 $ 91,627                  $ 33,338


                                                                                                                                                $           -
                                                                                                                                                            -

  $            -    $            -   $            -   $            -   $            -   $            -   $            -   $        -            $           -




PRODUCED PURSUANT TO RULE 408, 10/17/2011                                                                                                                       Page 3 of 4
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   May-10     Jun-10          Jul-10       Aug-10           Sep-10           Oct-10       Nov-10           Dec-10       Per-13       Total


      2,826       3,233          3,233          2,826          2,826            2,826          2,826          2,826              $     23,422
                                                                                                                                            -
      3,021       2,974       (287,384)        80,788        (37,770)        (147,264)        63,815        (99,399)                 (421,219)

  $ 5,847 $ 6,207 $ (284,151) $ 83,614 $ (34,944) $ (144,438) $ 66,641 $ (96,573)                                                $ (397,797)


                                                                                                                                 $           -
                                                                                                                                             -

  $       -   $       -   $            -   $        -   $            -   $            -   $        -   $            -            $           -




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                         Compensation Framework for Business Economic Loss Claims (BP 11/10/11)

           The compensation framework for business claimants compares the profit of a business for a pre-spill
           Benchmark Period to the profit that the claimant might have expected to earn in the post-spill period of
           2010.1 The calculation is divided into two steps:

                   Step 1 – Compensates claimants for any reduction in profit between the 2010 Compensation
                   Period selected by the claimant and the comparable months of the Benchmark Period. Step 1
                   compensation reflects the average of two methods of measuring the reduction in profits over
                   this period: (i) The reduction in Adjusted EBITDA (which reflects earnings before interest, taxes,
                   depreciation and amortization, adjusted for owner’s compensation and other non-operating
                   income and expenses) and (ii) The reduction in Variable Profit (which reflects the claimant’s
                   revenue less its variable costs).

                   Step 2 – Compensates claimants for incremental profits or losses the claimant might have been
                   expected to generate in the absence of the spill relative to sales from the benchmark period.
                   This calculation reflects a Claimant Factor that captures growth in the pre-spill months of 2010
                   compared to the Benchmark Period and a Tourism Industry Factor for business claimants in
                   tourism industries that satisfy the Tourism Definition agreed to by the parties.

           For purposes of the two step calculation, the parties have agreed to a defined list of fixed and variable
           expenses as reflected in Attachment A.

           In order to allocate payroll expenses into fixed and variable components, a minimum level of fixed
           payroll costs will be measured based on the average of the three months between January 2009 and
           December 2010 in which the claimant had its lowest payroll costs.

           Cost of Goods Sold (COGS) will be treated as a variable expense after excluding, to the extent possible,
           the following cost items which may be embedded in COGS and are likely to be fixed in nature:
           Amortization, Depreciation, Insurance Expense, Interest Expense, and Contract Services.

           Based on these considerations, the resulting calculations are performed to determine compensation for
           claimants.

          I.    Definitions

           For the purposes of this calculation, the following are defined terms:

           Compensation Period: The compensation period is selected by the Claimant to include three or more
           consecutive months between May and December 2010.




           1
             This Compensation Framework for Business Claims does not apply to (i) start-up businesses; (ii) businesses
           claiming to have ceased operations; (iii) development and construction businesses. Compensation frameworks for
           these types of businesses will be presented separately.

                                                                 1


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           Benchmark Period: The Benchmark Period is the pre-spill time period corresponding to the months of
           the Compensation Period that a claimant chooses as the baseline for measuring its historical financial
           performance. The claimant can select among the following Benchmark Periods: 2009, the average of
           2008-2009, or the average of 2007-2009.

           Claimant Specific Factor: In order to capture the impact of pre-spill trends in the claimant’s
           performance on revenue that might have been expected in the post-spill period, Benchmark Period
           revenue will be adjusted by a Claimant Specific Factor. The following steps will be used to compute the
           Claimant Specific Factor:

                1. Calculate the difference between claimant’s total revenue for January through April 2010 and
                   total revenue in January through April of the Benchmark Period.2
                2. Divide the revenue change calculated in (1) by total revenue in January through April of the
                   Benchmark Period to derive the Claimant Specific Factor. Note that the Claimant Specific Factor
                   will be applied regardless if it is a positive or negative amount. However, if the Claimant Specific
                   Factor falls below -20% or exceeds +20%, it will be set at -20% or +20%, respectively.

           Tourism Industry Factor: Claimants in the Tourism Industry, as defined by the parties, shall be entitled
           to a 4.0% Tourism Industry Factor.

           Adjusted-EBITDA: Earnings before interest, taxes, depreciation, and amortization, adjusted for (i.e.,
           adding back) owner’s compensation and other non-operating income and expenses.

           Variable Profit / Variable Margin: These items are calculated as follows:
               1. Sum the monthly Benchmark Period revenue.
               2. Subtract the corresponding variable expenses, which include:
                   a.       Cost items identified as variable in Attachment A.
                   b.       Variable portion of salaries, calculated as described immediately below.
                   c.       Variable portion of COGS, calculated by excluding fixed expenses included within COGS,
                            including Amortization, Depreciation, Insurance Expense, Interest Expense and Contract
                            Services and the variable portion of salaries included in COGS.
               3. The result is referred to as Variable Profit (for the Benchmark Period). Divide the Variable Profit
                   by the total Benchmark Period revenue to calculate the Variable Margin.

           Fixed & Variable Payroll Expenses: Fixed and Variable Payroll Expenses are calculated based on the
           understanding that every business must operate with a minimum core staff and are defined using
           monthly profit and loss statements and/or those documents listed in the Documentation Requirements
           for Business Claims for January 2009 through December 2010. Fixed and variable payroll expenses are
           calculated as follows:



           2
             Calculation of a claimant-specific factor may be inappropriate for certain fishing claimants given the seasonal
           nature of fishing activity. For fishing claimants, it may be appropriate to use an industry-specific factor based on
           the difference between the value of the relevant species-specific 2009 catch and NOAA’s forecast of the change in
           catch volume between 2009 and 2010. BP continues to evaluate this alternative.

                                                                    2


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                    1. Obtain monthly amounts for the following payroll expenses: (a) Salaries & wages; (b) Payroll
                       taxes (including workers compensation, unemployment insurance); (c) Employer costs for
                       employee benefits. Calculations include components of salaries and related expenses included
                       in both SG&A and COGS.
                    2. Sum these payroll expenses on a monthly basis to determine the Total Payroll Expense for each
                       month.
                    3. Identify the three months in 2009-10 with the lowest Total Payroll Expense.
                    4. Define “Fixed Payroll Expenses” as the average payroll expense over the three months with the
                       lowest Total Payroll Expense.
                    5. For any month with smaller total payroll costs than the average of the three lowest months, all
                       payroll costs will be considered fixed expenses.
                    6. Any monthly payroll costs in excess of the Fixed Payroll Expenses will be considered variable
                       expenses.

               Incremental Revenue: Revenue in selected Benchmark Period is multiplied by the Claimant Specific
               Factor and the Tourism Industry Factor (if applicable) to calculate Incremental Revenue. This represents
               the projected change in revenue compared to the Benchmark Period.

         II.        Step 1

            Step 1 of the compensation calculation is determined as the average of:

            (1)        The difference in Adjusted-EBITDA between the 2010 Compensation Period selected by the
                       claimant and the comparable months of the Benchmark Period, and

            (2)        The difference in Variable Profit between the 2010 Compensation Period selected by the
                       claimant and the comparable months of the Benchmark Period.

            As noted above, the Compensation Period is selected by the Claimant to include three or more
            consecutive months between May and December 2010.

            For claimants that participated in the VoO program, it is necessary to separately determine Step 1
            compensation based on non-VoO income only.3 For claimants that participated in VoO, Step 1
            compensation is calculated based on comparison of 2009 levels of Adjusted-EBITDA and Variable Profit
            and 2010 levels of Adjusted EBITDA and Variable Profits based on non-VoO activities only.

         III.       Step 2

               Using monthly profit and loss statements and/or those documents listed in the Documentation
               Requirements for Business Claims:




               3
                Claimants are required to report payments received under the VoO program. If claimants that received VoO
               payments fail separately to report costs incurred in VoO and non-VoO activities, then Step 1 compensation for
               non-VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between
               VoO and non-VoO related activities.

                                                                      3


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               (1)      Calculate total revenue amount for the 2010 Compensation Period and the comparable
                        months in the Benchmark Period.

               (2)      Calculate the Claimant Specific Factor.

               (3)      Calculate Incremental Revenue by multiplying the total Benchmark Period revenue by the sum
                        of Claimant Specific Factor and the Tourism Industry Factor (if applicable).

               (4)      Multiply Incremental Revenue by the Variable Margin.

         IV.         Total Compensation

               Total Compensation is calculated as follows:

               (1)      Add Step 1 Compensation to Step 2 Compensation.

               (2)      Apply the agreed-upon Risk Transfer Premium (RTP).

               (3)      Subtract from the sum of Step 1 and Step 2 payments received by the claimant from BP or the
                        GCCF pursuant to BP’s OPA claims process, as well as profits earned by the claimant by
                        participating in the VoO program, as determined in the calculation of Step 1 compensation for
                        fishing claimants.




                                                                   4


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                              Jim }~eath, Rick Godfrey, \Vendy Bloom
 FROM:                        Joe Rice, Calvin Fayard
 DATE:                        Nove1nber 3, 2011
 R:E:                         Economic Loss for Business Ciaims
                                                                                          .~~~~~-             -~~-··············-




  r-r•l    f~             1            1        .         ~   •   .1   ~          •   •     1
   1 ne rrameworK you nave requestea reqmres mese clements to reacn a recovery.

          1) Class membership.

          2) Compliance with the Framework for Business Loss.
          3) Compliance \Vit~ Causation for Business Loss.

          4) Documentation for the Business Loss.

  The begitming point for each of these claims is the geographical location of the business,
  the individual, or t..l-J.e loss. \Ve feel the requested causation standard contained in your
  causation document provides a very stringent provision for claimants to meet. If we were
  to discuss and agree to that type of causation requirement, we feel a substantial number of
  clairnants vvill be unjustly eliminated. \Ve understand the legal arguments about
  causation, and we also understand that this is a settlement and that such matters have to
  be. con1promised in order to reach agreement. l'herefore, \:Ve have formulated a.11 overall
  causation standard that we beiieve meets ail parties' needs.

         Our approach builds off of all of our numerous lengthy discussions and establishes
  the following:

          1) G·eographicallocation: \Ve adopt the Presun1ption Zone A, Presuinption Zone B,
             and Buffer Zone approach. The butler zone for a non US Interstate Highway shall
             run a .1 of a 1.niie from either side of the high\va:y rig..l-:lt of\vay. 111e buffer zone
             from a US inierstate highway shall run a .1 of a mile from either side ofille
             hi2.hwav ri2.ht ofwav exceut at exit interchan2.es. The buffer zone at an exit
                '-'   "       ......       .;       .1.                ........




Memo.docx
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             interchange shall run .25 of a mile from either side of the highway right of way
             since the right of ,x,ay itself is over .1 0 of a mile

        2) We adopt the dividing Seafood into Primary and Secondary. (Attached)
        3) \A/e agree \Vit..IJ. t..lJ.e Tourism definition \Ve have excha..11ged. (i~·;..ttached)
        4) \Ve elitninate the Haircut Zones throughout the balance of the class area, so that
             the class would consist of Presumption Zone A, Presumption Zone B, Buffer Zone,
             and all else a..,"t}d accept the r-..1aps of}Jovember 2. 2011 (Bates #3935-3943) and the
             other areas like Key West previously finalized.
        5) We implement the growth rate pursuant to our discussions, resulting in an
           Individual Grovv'th Rate, plus there is a.11 Industry Growih Rate. The Growth Rate
           for the Tourism Industry proposed by the PSC is 6.8%, and the Growth Rate
           proposed by BP for the Tourism Industry is 3.5%. We propose to use the 6.8% for
           all industries across the board.
        6) Attached are the following documents:
             A. Documentation Requirements for Business Claims
             B. Causation for Business Loss
             C. Seafood Distribution- Definitions
             D. Damage Calculation :rv1ethodology for Business Claims, including Sample
                lviodels
     This responds to all of the issues related to determining the initial loss for each Economic
     Business Claim \Ve have been discussing.

     v.;e also have the deten11ination and application of the Risk Transfer Pre1niuni, which i:s
     subject to further discussion of the parties.




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                                      DECLARATION OF CHARLES C. COX

                   Charles C. Cox deposes and states, pursuant to 28 U.S.C. § 1746:

                   1.     I am an economist (Ph.D., University of Chicago) and have held positions in

           academia, the government, and the private sector. A copy of my curriculum vitae is attached as

           Exhibit A. I have particular experience and expertise in matters relating to securities regulation.

           I served as Chief Economist of the U.S. Securities and Exchange Commission (“SEC”) from

           1982-83. Thereafter, I was appointed a Commissioner of the SEC, where I served from 1983-89,

           and as Acting Chairman during 1987. In my capacity as an SEC Commissioner, I was intimately

           involved in reviewing and approving SEC regulations, including those governing public

           company disclosure of financial information and regulated accounting for publicly traded

           companies through rulemaking, interpretation, and oversight of the Financial Accounting

           Standards Board.

                   2.     I have been qualified and testified as an expert witness in cases related to

           securities markets, valuation, damages, ERISA, accounting litigation, and corporate governance

           in federal and state courts and before the U.S. Securities and Exchange Commission and

           arbitration panels.

                   3.     I understand that there is a dispute between two negotiating parties regarding an

           appropriate methodology for quantifying the economic loss of a business. One party has

           advocated a loss quantification method that compares (a) Earnings Before Interest, Taxes,

           Depreciation and Amortization (“EBITDA”) during specified months in the year prior to the

           conduct that allegedly injured the business to (b) EBITDA in the comparable months in the year

           of the conduct. Opposing counsel has questioned the appropriateness of EBITDA as a measure




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                                                             2


           of economic performance. In particular, I understand that opposing counsel has asserted that

           EBITDA is a metric that has been rejected by the U.S. Securities and Exchange Commission.

                   4.     EBITDA is a well-recognized measure of economic performance. The SEC

           recognizes EBITDA as an established metric of a firm‟s economic performance and public

           companies regulated by the SEC regularly report EBITDA.

                   5.     EBITDA has been a well-recognized measure of a firm‟s economic performance

           for over 20 years. EBITDA is now common enough that it is a topic in journal articles and

           textbooks on financial analysis and valuation. For example:

                          “Firm cash flow is calculated using the standard measure of firm-level
                          performance, EBITDA, which stands for earnings before interest, taxes,
                          depreciation, and amortization.”1

                          “When buying a business . . . it is common to examine the value of the firm as a
                          multiple of the . . . earnings before interest, taxes, depreciation, and amortization
                          (EBITDA).”2

                          “EBITDA projection is the heart of high-yield bond analysis.”3

                   6.     EBITDA is also commonly used by researchers in the field of financial

           economics.4 Indeed, I note that even the blog post cited by opposing counsel recognizes that

           EBITDA is a “valuable” metric for evaluating a company‟s earnings and is routinely used by


           1
             Steven Kaplan and Per Stromberg, Leveraged Buyouts and Private Equity, 22 J of Econ.
           Perspectives 18 (2008). See also James L. Gilbert, How to Map Your Industry‟s Profit Pool,
           Harvard Business Review 149 (May 1998/June 1998); Lawrence Revsine, Daniel W. Collins, &
           W. Bruce Johnson, Financial Reporting and Analysis, 201 (2nd ed. 2002); James C. Van Horne,
           Financial Management Policy, 357, 359 (12th ed 2002); Geoffrey A. Hirt, Stanley B. Block &
           Somnath Basu, Investment Planning for Financial Professionals 220-221 (2006).
           2
             Aswath Damodaran, Damodaran on Valuation 237 (2nd ed. 2006). See also Aswath
           Damodaran, Investment Valuation 383, 454 (2nd ed. 2002); Shannon P. Pratt, Robert F. Reilly &
           Robert P. Schweihs, Valuing a Business 187 (4th ed. 2000).
           3
             J. Thomas Madden & Joseph Balestrino, Management of a High-Yield Bond Portfolio in Frank
           Fabozzi ed, The Handbook of Fixed Income Securities 948 (2001).
           4
             See Kaplan and Stromberg, note 1 above.




HIGHLY CONFIDENTIAL                                                                                               004125
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                                                             3


           banks in loan covenants as the metric for measuring the borrower‟s financial performance.5

           EBITDA is also routinely used to value businesses in the context of mergers and acquisitions.6

                   7.     EBITDA is a useful metric of a firm‟s current economic performance because it

           approximates cash flow generated by the business. Non-cash expenses of depreciation and

           amortization, which are not part of cash flow, are added back. Similarly, taxes, which are a

           function of, among other things, the form of business organization, are added back to eliminate

           their potentially distortive effect on measuring the firm‟s economic performance. The usefulness

           of EBITDA is widely recognized in the financial literature:

                          “EBITDA is a widely used proxy for operating cash flow as it
                          reflects the company‟s total cash operating costs for producing its
                          products and services. In addition, EBITDA serves as a fair
                          „apples-to-apples‟ means of comparison among companies in the
                          same sector because it is free from differences resulting from
                          capital structure (i.e., interest expense) and tax regime (i.e., tax
                          expense).”7

                   8.     The widespread acceptance of EBITDA is reflected in the fact that many firms

           report EBITDA in public disclosures filed with the SEC. To gauge the frequency of this type of

           EBITDA disclosure, I searched SEC Forms 8-K (8-Ks frequently contain a company‟s earnings

           announcement) filed between August 1 and November 11, 2011 and found 3,506 Forms 8-K that

           included an EBITDA disclosure.

                   9.     Indeed, SEC regulations adopted pursuant to the Sarbanes-Oxley Act of 2002

           expressly define EBITDA as an approved financial disclosure by registrants. See SEC Reg.


           5
             K. Berman and J. Knight, “How EBITDA Can Mislead,” Harvard Bus. Review blog (Nov. 19,
           2009, 11:34 a.m.) (hereafter, “HBR blog”).
           6
             See notes 1 and 2.
           7
             Joshua Rosenbaum & Joshua Pearl, Investment Banking, 34 (2009). See, also, James R.
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          S-K Item lO(e)(l)(ii)(A), 17 C.F.R. § 229.10(e)(l)(ii)(A). 8 As with all such financial measures

          that are modifications of Generally Accepted Accounting Principles ("GAAP"), the registrant

          must provide a reconciliation ofEBITDA with GAAP financial reporting.

                  10.    I understand that opposing counsel has noted that the HBR blog suggests that

          EBITDA can be a misleading measure if a firm misclassifies expenses and thereby distorts the

          inputs into the EBITDA calculation. While that is true, it is no less true for any economic

          measure. Misclassification that intentionally misstates the inputs to a calculation will lead to a

          distorted result. That possibility is not a reason to reject EBITDA any more than it is a reason to

          reject GAAP accounting or other well-accepted measures.

                  II.    I declare under penalty of peljury that the foregoing is true and correct.

                  Executed this   154 hday of Nove"' b~,,       2011 in Ch.c..ll~O,      TL


                                                        ChMI~~C Cr/



          8
           See also Latham & Watkins LLP Advisory, "Adjusted EBITDA Is Out of the Shadows as Staff
          Updates Non-GAAP Interpretations" (Feb. 22, 2010) (Noting new SEC Staff Guidance
          permitting use of certain measures based on adjustments to EBITDA).




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                                            Exhibit A




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                                            PROFESSIONAL EXPERIENCE

           Senior Vice President, Compass Lexecon (formerly Lexecon) (1989-present).

           Chairman, United Shareholders Association (1990-1993).

           Commissioner, U.S. Securities and Exchange Commission (1983-1989);
           Acting Chairman, U.S. Securities and Exchange Commission (1987);
           Chief Economist, U.S. Securities and Exchange Commission (1982-1983).

           Assistant Professor of Management, Texas A&M University (1980-1982);
           Director of John M. Olin Fellowship Program, Texas A&M University (1981-1982).

           Assistant Professor of Economics, Ohio State University (1972-1980).

           National Fellow of the Hoover Institution, Stanford University (1977-1978).


                                             FIELDS OF SPECIALIZATION

           Financial Markets, Industrial Organization, Money and Banking.


                                                     EDUCATION

           University of Chicago, Chicago, Illinois; Ph.D. 1975.

           University of Chicago, Chicago, Illinois; A.M. 1970.

           University of Washington, Seattle, Washington; B.A. 1967.


                                                    PUBLICATIONS

           Futures Trading and Market Information, Journal of Political Economy, 84 (December 1976).

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                  International Limited, The Bank of New York Mellon, QSR Management Limited, Moody’s
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                  SEI Investments, et al. vs. Morgan Stanley & Co. Incorporated, Morgan Stanley & Co.
                  International Limited, The Bank of New York Mellon, QSR Management Limited, Moody’s
                  Investors Service Inc., Moody’s Investors Service Ltd., Standard & Poor’s Rating Services
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HIGHLY CONFIDENTIAL                                                                                           004131
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                   (November 17, 2003).

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                   Eastern District of New York, (May 11, 2002).

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                 CV-98-J-2634-S, United States District Court for the Northern District of Alabama,
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                 and Mary Elizabeth O’Leary vs. Neuberger Berman LLC and Howard Ganek, Docket
                 #2000-008693, New York Stock Exchange Arbitration, (February 28, 2002).

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                  Exchange Commission, (January 17, 2002).

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                 CompuServe Corporation, et al., Defendants, No. 97 CVG-03-3906, Arbitration Hearing,
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           Deposition of Charles C. Cox In Re: Florida State Board of Administration, Plaintiff, vs.
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                  Pleas, Franklin County, Ohio, (December 7, 2001).

           Affidavit of Charles C. Cox in Re: HealthSouth Corporation Securities Litigation, Master File No.
                   CV-98-0-2634-S, United States District Court for the Northern District of Alabama,
                   Southern Division, (October 17, 2001).

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                 Defendant, Case No. 99-567-DRH, United States District Court Southern District of
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HIGHLY CONFIDENTIAL                                                                                              004134
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           Deposition of Charles C. Cox in Re: MTC Electronic Technologies Shareholder Litigation, Master
                  File No. CV-93-0876 (JG), CV-95-2499 (JG), MDL No. 1059, United States District Court,
                  Eastern District of New York, (April 4-6, 2001).

           Testimony of Charles C. Cox in Re: David Strohm, as Stockholder’s Agent for and on behalf of
                 the former Saros Stockholders, Claimants v. FileNet Corporation, Respondent, Case No.
                 74Y168037699, American Arbitration Association, (March 20 & 21, 2001).

           Affidavit of Charles C. Cox in Re: Investigation No. MRD199701072, NASD Regulation, Inc.,
                   (January 17, 2001).

           Testimony of Charles C. Cox in Re: Elmer Krogman, et al. v. Continental Investment Corp. et al.,
                 Civil Action No. 3:98-CV-2895-T, United States District Court for the Northern District of
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           Deposition of Charles C. Cox in Re: Westfed Holdings Inc. et al., Plaintiffs and Federal Deposit
                  Insurance Corporation, Plaintiff-Intervenor v. The United States of America, Defendant,
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           Deposition of Charles C. Cox in Re: Goodman Epstein, et al., Plaintiffs, v. Cyrix Corporation,
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                   et al., Defendants, Case Nos. 96 CVG-06-4810, 96 CVG-08-5837, 97 CVG-03-3906, 97
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HIGHLY CONFIDENTIAL                                                                                              004135
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           Testimony of Charles C. Cox in Re: John K. Castle et al. and Federal Deposit Insurance
                 Corporation v. United States, No. 90-1291-C, United States Court of Federal Claims,
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                  Co., Inc., No. 91-0143-IEG, United States District Court, Southern District of California,
                  (July 2, 1999).

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                 States Securities and Exchange Commission Administrative Proceeding, (January 13,
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                  California, Orange County, (September 2, 1998).

           Testimony of Charles C. Cox in Re: Alpha Group Consultants, Ltd., et al., v. Bear, Stearns & Co.,
                 Inc., No. 91-0143-IEG (AJB), United States District Court, Southern District of California,
                 (August 19, 1998).

           Deposition of Charles C. Cox in Re: Alpha Group Consultants, Ltd., et al., v. Bear, Stearns & Co.,
                  Inc., No. 91-0143-IEG (AJB), United States District Court, Southern District of California,
                  (June 24 & August 8, 1998).

           Deposition of Charles C. Cox in Re: STI Classic Funds et al. v. Bollinger Industries, Inc., et al.,
                  No. 3:96C-V-0823-R, United States District Court, Northern District of Texas, Dallas
                  Division, (June 19, 1998).




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           Affidavit of Charles C. Cox in Re: Safety-Kleen Corporation v. Laidlaw Environmental Services,
                   Inc., No. 97C8003, United States District Court, Northern District of Illinois, Eastern
                   Division, (March 4, 1998).

           Affidavit of Charles C. Cox in Re: Edouard Serfaty et al. v. International Automated Systems, Inc.,
                   and Neldon P. Johnson, Case No. 2:96 CV 0583C, United States District Court, District of
                   Utah, Central Division, (February 25, 1998).

           Affidavit of Charles C. Cox in Re: Computer Associates International, Inc. v. Computer Sciences
                   Corporation, CV-S-98-00278-LDG (RHL), United States District Court, District of Nevada,
                   (February 24, 1998).

           Testimony of Charles C. Cox in Re: Safety-Kleen Corporation v. Laidlaw Environmental Services,
                 Inc., No. 97C8003, United States District Court, Northern District of Illinois, Eastern
                 Division, (January 30 & February 2, 1998).

           Deposition of Charles C. Cox in Re: Safety-Kleen Corporation v. Laidlaw Environmental Services,
                  Inc., No. 97C8003, United States District Court, Northern District of Illinois, Eastern
                  Division, (January 23, 1998).

           Testimony of Charles C. Cox in Re: Publicis Communication v. True North Communications Inc.,
                 et al., No. 97 C 8263, District Court for the Northern District of Illinois, Eastern Division,
                 (December 19 & 22, 1997).

           Affidavit of Charles C. Cox in Re: Publicis Communication v. True North Communications Inc., et
                   al., No. 97 C 8263, District Court for the Northern District of Illinois, Eastern Division,
                   (December 15, 1997).

           Testimony of Charles C. Cox in Re: Augustus Condus, et al. v. Howard Savings Bank, et al.; Civil
                 Action Nos. 89-5131 and 91-2465 and Leo A. Gutman, et al. v. Howard Savings Bank, et
                 al.; Civil Action No. 90-2397; United States District Court for the District of New Jersey,
                 (November 20, 1997).

           Deposition of Charles C. Cox in Re: Morton S. Goldfine and Adrienne M. Goldfine vs. Michael L.
                  Steinberg, American Express Company, Shearson Lehman Brothers Holdings, Inc., et al.,
                  No. 93 L 5233, Circuit Court of Cook County, Illinois, (October 27 & 28, 1997).

           Testimony of Charles C. Cox in Re: NASD Regulation, Inc., Market Surveillance Committee v.
                 Morgan Stanley & Co., Inc. et al., Disciplinary Hearing Panel of the Market Regulation
                 Committee, NASD Regulation, Inc., CMS960235, (July 16, 1997).

           Deposition of Charles C. Cox in Re: Robert Stuchen, et al., Plaintiffs vs. Duty Free International,
                  et al., Defendants; Superior Court of the State of Delaware (New Castle County), Civil
                  Action No. 94C-12-124; and Victor M. Guerra, et al., Plaintiffs v. Duty Free International,
                  et al., Defendants; Superior Court of the State of Delaware (New Castle County), Civil
                  Action No. 95C-04-13, (June 4, 1997).

           Deposition of Charles C. Cox in Re: Augustus Condus, et al. v. Howard Savings Bank, et al.; Civil
                  Action No. 91-2465 and Leo A. Gutman, et al. v. Howard Savings Bank, et al.; Civil Action
                  No. 90-2397; United States District Court for the District of New Jersey (WGB), (February
                  14, 1997).




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           Deposition of Charles C. Cox in Re: Joseph W. and Helen B. Teague et al. Plaintiffs vs. James
                  O. Bakker, Defendant; United States District Court for the Western District of North
                  Carolina, Civil Action No. 3:87CV514, (June 28, 1996).

           Affidavit of Charles C. Cox in Re: Evelyn Shea et al. Plaintiffs v. New York Life Insurance
                   Company et al. Defendants; United States District Court, Southern District of Florida,
                   Case No. 96-0746-CIV-NESBITT, (June 21, 1996).

           Deposition of Charles C. Cox in Re: Raisy Levitan et al., Plaintiffs v. A Pea In the Pod, et al.,
                  Defendants; United States District Court for the Northern District of Texas, Dallas Division,
                  Civil Action No. 3-94 CV-0247D, (June 12, 1996).

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                  al. Defendants; United States District Court for the Northern District of Illinois, Eastern
                  Division, No. 92 C3551, (May 23, 24, 1996).

           Deposition of Charles C. Cox in Re: Nasdaq Market-Makers Antitrust Litigation; United States
                  District Court for the Southern District of New York, 94 Civ. 3996 (RWS) M.D.L. No. 1023,
                  (May 10, 11, 1996).

           Affidavit of Charles C. Cox in Re: Nasdaq Market-Makers Antitrust Litigation; United States
                   District Court for the Southern District of New York, 94 Civ. 3996 (RWS) M.D.L. No. 1023,
                   (April 30, 1996).

           Deposition of Charles C. Cox in Re: Wayne Laverne Prim, Plaintiff vs. Loretta Jean Prim,
                  Defendant; Ninth Judicial District Court of the State of Nevada in and for the County of
                  Douglas, No. 31327, Dept. No. 1, (November 20, 1995).

           Testimony of Charles C. Cox in Re: H.R. 2131, The Capital Markets Deregulation and
                 Liberalization Act of 1995; Subcommittee on Telecommunications and Finance of The
                 House Committee on Energy and Commerce, (November 14, 1995).

           Testimony of Charles C. Cox in Re: Douglas E. O'Neil et al. v. Curtis H. Appel et al., Price
                 Waterhouse and Embrace Systems Corporation; United States District Court for the
                 Western District of Michigan, Southern Division, No. 1:94-CV-97 (RHB), (August 25,
                 1995).

           Declaration of Charles C. Cox in Re: Mark Erwin, Trustee, Mark Erwin Sales, Inc. Defined Benefit
                  Plan, et al., Plaintiffs v. Resources High Equity, Inc., et al., Defendants; Superior Court for
                  the State of California, County of Los Angeles, Case No.: BC080254, (July 11, 1995).

           Affidavit of Charles C. Cox in Re: Douglas E. O'Neil, et al., Plaintiffs v. Curtis H. Appel et al.,
                   Defendants, United States District Court for the Western District of Michigan, No. 1: 94-
                   CV-97 (RHB), (May 31, 1995).

           Testimony of Charles C. Cox: Concerning Securities Litigation Reform; Subcommittee on
                 Securities of the Senate Banking, Housing and Urban Affairs Committee, (April 6, 1995).

           Deposition of Charles C. Cox in Re: Storage Technology Securities Litigation; United States
                  District Court for the District of Colorado, No. 92-K-750, (December 13, 14, 1994).




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           Deposition of Charles C. Cox in Re: Harold J. Robins and Alan Freeberg, Plaintiffs vs. Moore
                  Medical Corp., et. al., Defendants; United States District Court for the Southern District of
                  New York, No. 91 Civ. 3701 (MEL), (December 5, 1994).

           Testimony of Charles C. Cox in Re: Sidney Morse, Ann Drake and Robert L. Baumgarten,
                 Plaintiffs vs. Abbott Laboratories, Robert A. Schoellhorn, Duane L. Burnham and Jack W.
                 Schuler, Defendants; United States District Court for the Northern District of Illinois,
                 Eastern Division, No. 90 C 1982, (February 28, March 1, 2, 3, 4, 7, 1994).

           Affidavit of Charles C. Cox in Re: Sandy Liebhard, et. al., Plaintiffs vs. Square D Company and
                   Jarre L. Stead, Defendants; United States District Court for the Northern District of Illinois,
                   Eastern Division, No. 91 C1103, (February 8, 1994).

           Affidavit of Charles C. Cox in Re: Time Warner Inc. Securities Litigation; United States District
                   Court for the Southern District of New York, No. 90 Civ. 4051 (MEL), (February 1, 1994).

           Deposition of Charles C. Cox in Re: Union Pacific Corporation, Union Pacific Railroad Company
                  and Missouri Pacific Railroad Company -- Control -- Chicago and North Western Holdings
                  Corp. and Chicago and Northwestern Transportation Company: Before the Interstate
                  Commerce Commission, Finance Docket No. 32133, (January 21, 1994).

           Affidavit of Charles C. Cox in Re: Dennis E. Bentley, et. al., Plaintiffs vs. Legent Corporation, et.
                   al., Defendants; United States District Court for the Eastern District of Virginia, Alexandria
                   Division, No. 93-894-A, (January 7, 1993).

           Deposition of Charles C. Cox in Re: William R. Fry, et. al., Plaintiffs vs. UAL Corporation; United
                  States District Court for the Northern District of Illinois, Eastern Division, No. 90 C0999,
                  (January 14, April 7, 1994).

           Testimony of Charles C. Cox in Re: United States of America v. Gary Singer and The Cooper
                 Companies, Inc.; United States District Court for the Southern District of New York, 92 Cr.
                 964 (RJW), (December 20, 21, 1993).

           Deposition of Charles C. Cox in Re: Dennis E. Bentley, et. al., Plaintiffs vs. Legent Corporation,
                  et. al., Defendants; United States District Court for the Eastern District of Virginia,
                  Alexandria Division, No. 93-894-A, (December 9, 1993).

           Verified Statement of Charles C. Cox in Re: Union Pacific Corporation, Union Pacific Railroad
                   Company and Missouri Pacific Railroad Company -- Control -- Chicago and North
                   Western Holdings Corp. and Chicago and Northwestern Transportation Company: Before
                   the Interstate Commerce Commission, Finance Docket No. 32133, Dated November 24,
                   1993.

           Affidavit of Charles C. Cox in Re: Compaq Securities Litigation; United States District Court for
                   the Southern District of Texas, Houston Division, Civil Action H-91-9191, (September 27,
                   1993).

           Deposition of Charles C. Cox in Re: American Dental Laser, Inc. Securities Litigation; United
                  States District Court Eastern District of Michigan, Southern Division, No. 92-CV-71917-
                  DT, (August 19, 20, 1993).

           Deposition of Charles C. Cox in Re: Janivo Holding, B.V., Plaintiff v. Continental Bank N.A. and
                  First Interstate Commercial Mortgage Company of Illinois, Defendants; United States


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                  District Court for the Northern District of Illinois, Eastern Division, No. 91C7728, (August
                  12 and September 15, 1993).

           Testimony of Charles C. Cox in Re: Lynn A. Schwartz, Plaintiff, vs. System Software Associates,
                 Inc., Roger E. Covey, and David L. Harbert, Defendants; United States District Court for
                 the Northern District of Illinois, Eastern Division, No. 91 C1154, (June 29, 1993).

           Testimony of Charles C. Cox in Re: Intervivos and Testamentary Trusts of J.E. Barbey, also
                 known as John E. Barbey, Deceased; Court of Common Pleas of Berks County,
                 Pennsylvania, Orphans' Court Division, No. 46273, 47416, 47417, 47418, 47419, (April
                 27, 1993).

           Affidavit of Charles C. Cox in Re: Sandy Liebhard, et al., Plaintiffs vs. Square D Company and
                   Jarre L. Stead, Defendants; United States District Court for the Northern District of Illinois,
                   Eastern Division, No. 91 C1103, (March 12, 1993).

           Declaration of Charles C. Cox in Re: Mortgage and Realty Trust Securities Litigation; United
                  States District Court for the Eastern District of Pennsylvania; Master file No. 90-1848,
                  (March 9, 1993).

           Deposition of Charles C. Cox in Re: Scott Paper Securities Litigation; United States District Court
                  for the Eastern District of Pennsylvania; Master File No. 90-6192, (February 19, 20, 1993).

           Deposition of Charles C. Cox in Re: Amos M. Ames, et. al., Plaintiffs, vs. Marguerite M. Paul, et.
                  al., Defendants; Circuit Court Juneau County, State of Wisconsin, Case Nos. 92-CV-31,
                  92-CV-32, (January 26, 1993).

           Deposition of Charles C. Cox in Re: Mortgage and Realty Trust Securities Litigation; United
                  States District Court for the Eastern District of Pennsylvania; Master File No. 90-1848,
                  (January 12, 1993).

           Deposition of Charles C. Cox in Re: Sandy Liebhard, et al., Plaintiffs vs. Square D Company and
                  Jerre L. Stead, Defendants; United States District Court for the Northern District of Illinois,
                  Eastern Division, No. 91 C1103, (November 18, 19, 1992).

           Deposition of Charles C. Cox in Re: Estate of Technical Equities Corporation, Plaintiff, vs. Harry
                  C. Stern; Stern Management Associates, a general partnership; Bear Stearns & Co.;
                  Michael J. Doherty; Does 3-500, and Roes 1-100, Defendants. Superior Court of
                  California, County of Santa Clara; Master File No. 1991, Santa Clara County Superior
                  Court No. 600306, (September 4, 5, 1992).

           Testimony of Charles C. Cox in Re: In the Matter of the Trust created by George A. Hormel and
                 Designated as Trusts Nos. 4, 5 and 6, and of the Trust created by Jay C. Hormel and
                 Designated as Trusts Nos. 101, 102, 103, 201, 202, 203, 301, 302 and 303. District Court
                 of the State of Minnesota, County of Mower, Third Judicial District, Nos. C5-54-22378, C7-
                 54-22379, C3-54-22380, C9-57-23659, C5-57-23660, C7-57-23661, C9-57-23662, C0-57-
                 23663, C2-57-23664, C4-57-23665, C6-57-23666, C8-57-23667, (August 26, 27, 28,
                 1992).

           Deposition of Charles C. Cox in Re: In the Matter of the Trust created by George A. Hormel and
                  Designated as Trusts Nos. 4, 5 and 6, and of the Trust created by Jay C. Hormel and
                  Designated as Trusts Nos. 101, 102, 103, 201, 202, 203, 301, 302 and 303. District Court
                  of the State of Minnesota, County of Mower, Third Judicial District, Nos. C5-54-22378, C7-


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                  54-22379, C3-54-22380, C9-57-23659, C5-57-23660, C7-57-23661, C9-57-23662, C0-57-
                  23663, C2-57-23664, C4-57-23665, C6-57-23666, C8-57-23667, (August 19, 1992).

           Affidavit of Charles C. Cox in Re: Del Monte Corporation, Plaintiff, v. Polly Peck International,
                   PLC; PPI Del Monte Tropical Fruit Company, North America and DMII (International) Ltd.,
                   Defendants. PPI Del Monte Tropical Fruit Company, North America and DMII (Interna-
                   tional) Ltd., Counterclaim Plaintiffs, v. Del Monte Corporation, Counterclaim Defendant,
                   United States District Court for the Southern District of New York, 91 Cov. 6486 (WK),
                   (May 11, 1992).

           Affidavit of Charles C. Cox in Re: Sandy Liebhard, et al., Plaintiffs vs. Square D Company and
                   Jarre L. Stead, Defendants; United States District Court for the Northern District of Illinois,
                   Eastern Division, No. 91 C1103, (April 15, 1992).

           Deposition of Charles C. Cox in Re: Rospatch Securities Litigation, United States District Court
                  for the Western District of Michigan, Southern Division, No. 1:90-CV-805, 1:90-CV-806,
                  1:91-CV-85, (April 7, 1992).

           Affidavit of Charles C. Cox in Support of Shearson's Motion for Summary Judgment in Re:
                   General Acquisition, Inc., et al., Plaintiffs v. GenCorp Inc., et al., Defendants, GenCorp
                   Inc., Defendant-Counterclaimant, v. Wagner & Brown, et al., Defendants on the Counter-
                   claims and Shearson Lehman Brothers Inc. and Shearson Lehman Brothers Holdings
                   Inc., New Party Defendants on the Amended Counterclaims, United States District Court
                   for the Southern Division of Ohio, Eastern Division, C2-87-348, (February 28, 1992).

           Deposition of Charles C. Cox in Re: General Acquisition, Inc., et al., Plaintiffs v. GenCorp Inc., et
                  al., Defendants, GenCorp Inc., Defendant-Counterclaimant, v. Wagner & Brown, et al.,
                  Defendants on the Counterclaims and Shearson Lehman Brothers Inc. and Shearson
                  Lehman Brothers Holdings Inc., New Party Defendants on the Amended Counterclaims,
                  United States District Court for the Southern Division of Ohio, Eastern Division, 2:87-CV-
                  348, (November 20, 21, 22 and December 19, 20, 1991).

           Deposition of Charles C. Cox in Re: DBA Securities Litigation, United States District Court for the
                  Middle District of Florida, Orlando Division, No. 89-032-Civ-Orl-19, (August 30, 1990).

           Affidavit of Charles C. Cox: Submitted on behalf of all defendants in Re: David Jacobson, et al.,
                   against Bear Stearns & Co., Inc., No. 90/7333; Richard Moose, et al., against Merrill
                   Lynch, Pierce Fenner & Smith, Inc., No. 90/15850; Michael Hecht, et al., against
                   Shearson Lehman Hutton Holdings, Inc., No. 90/15852; David Jacobson and Samuel
                   Brach, et al., against Prudential-Bache Securities Inc., No. 90/8406; M & L Partnership,
                   Milton Mandelblatt and Leah Mandelblatt, et al., against Pain Webber Incorporated, No.
                   90/15851; M & L Partnership, et al., against Regional Clearing Corp., No. 90/7240;
                   Supreme Court of the State of New York, County of New York, (July 27, 1990).

           Securities and Exchange Commission Proposed Legislation 'The Insider Trader Act of 1987' And
                   Memorandum of Support, Subcommittee on Securities of the Senate Banking, Housing
                   and Urban Affairs Committee, (August 7, 1987).

           Internationalization of the Securities Markets, Subcommittee on Telecommunications and
                   Finance of the House Committee on Energy and Commerce, (August 5, 1987).

           Program Trading, Subcommittee on Telecommunications and Finance of the House Committee
                 on Energy and Commerce, (July 23, 1987).


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           Corporate Takeover Legislation, Committee on Banking, Housing and Urban Affairs, United
                 States Senate, (June 23, 1987).

           Legislation to Define Insider Trading, Subcommittee on Securities of the Senate Banking,
                  Housing and Urban Affairs Committee, (June 19, 1987).

           The Commission's Authorization Request for Fiscal Years 1988-90, Subcommittee on Tele-
                 communications and Finance of the House Committee on Energy and Commerce, (June
                 4, 1987).

           The Commission's Market Oversight, Surveillance, and Enforcement Programs, Subcommittee
                 on Telecommunications and Finance of the House Committee on Energy and Finance,
                 (May 5, 1987).

           Federal Regulation of Tender Offers, Subcommittee on Antitrust, Monopolies and Business
                 Rights of the Senate Judiciary Committee, (April 2, 1987).

           Oversight Hearings, Subcommittee on Telecommunications, Consumer Protection, and Finance
                  of the House Committee on Energy and Commerce, (March 5, 1986).

           Tender Offer Process, Subcommittee on Taxation and Debt Management of the Senate
                 Committee on Finance, (April 22, 1985).

           The Current Legislative Framework Governing the Financial Services Industry, Subcommittee on
                 Telecommunications, Consumer Protection, and Finance of the House Committee on
                 Energy and Commerce, (April 2, 1985).

           Oversight Hearings, Subcommittee on Telecommunications, Consumer Protection, and Finance
                  of the House Committee on Energy and Commerce, (March 21, 1985).

           Title I of H.R. 4557, the Proposed Secondary Mortgage Market Enhancement Act, Subcommittee
                    on Telecommunications, Consumer Protection, and Finance of the House Committee on
                    Energy and Commerce, (March 14, 1984).

           Oversight Hearings, Subcommittee on Telecommunications, Consumer Protection, and Finance
                  of the House Committee on Energy and Commerce, (February 23, 1984).

           Nomination of Charles Coleman Cox, Committee on Banking, Housing, and Urban Affairs, United
                 States Senate, (November 9, 1983).


                                              HONORS AND AWARDS

           Charles R. Walgreen Foundation for the Study of American Institutions Fellowship, 1970-1972.

           National Defense Education Act Title IV Graduate Fellowship, 1967-1970.

           Graduate Magna Cum Laude with Distinction in Economics, 1967.

           Phi Beta Kappa 1966.




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                                                OTHER ACTIVITIES

           Member, American Economic Association, Mont Pelerin Society.

           Referee, Journal of Political Economy, American Economic Review, Journal of Law & Economics,
           Journal of Money, Credit, and Banking, Economic Inquiry, National Science Foundation, Review
           of Social Economy, Social Science Quarterly.

           Participant and speaker at multiple conferences on the Economics of Corporate, Securities and
           Commodities Law, Mergers and Acquisitions, and the Regulation of Markets.




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                                           Memorandum Regarding EBITDA
                                                November 15, 2011

                   In discussing an appropriate methodology for quantifying the economic loss of a
           business, we have advocated that Step 1 of the quantification methodology should compare (a) a
           claimant’s Earnings Before Interest, Taxes, Depreciation and Amortization (“EBITDA”), during
           specified months in the year prior to the acts complained of to (b) EBITDA in the comparable
           months during the year in which those acts occurred. Similarly, our proposed methodology for
           valuing losses for failed businesses relies on the use of EBITDA.

                  Questions have been raised by opposing counsel about the appropriateness of EBITDA to
           quantify a business’s economic loss. In particular, opposing counsel have suggested that
           EBITDA has been rejected by the U.S. Securities and Exchange Commission and is not accepted
           by courts. As we explain below, neither of those assertions is correct.

                  EBITDA is a widely used financial metric and has been for more than 20 years.
           Textbooks on financial analysis and valuation and journal articles routinely cite EBITDA as a
           standard measure. See Declaration of Charles C. Cox (Nov 15, 2011) ¶¶ 5-7 & nn. 1-7.

                    Moreover, as Mr. Cox, a former SEC Commissioner, explains in his declaration, the SEC
           has not rejected EBITDA as a measure of financial performance. To the contrary, SEC
           regulations expressly recognize EBITDA as a well-established non-GAAP measure of financial
           performance -- that is, a measure of performance that is different from, but which can be
           reconciled with, the Generally Accepted Accounting Principles (GAAP) accounting conventions
           required to be used for public company financial statements filed with the SEC. See Cox Decl.
           ¶¶ 8-9; SEC Regulation S-K item 10(e), 17 C.F.R. § 229.10(e)(1)(ii)(A). Consistent with SEC
           rules, thousands of public companies regularly provide EBITDA information in their quarterly
           earnings announcements. See Cox Decl. ¶ 8. Notably, the SEC regulations do not refer to
           variable profit (the methodology advocated by opposing counsel as the methodology for
           quantifying economic loss in Step 1).

                   Courts also have accepted EBITDA. The Delaware Chancery Court, perhaps the premier
           business court in the nation, repeatedly has recognized EBITDA as an appropriate measure of
           financial performance. See, e.g., Hexion Specialty Chemicals, Inc. v. Hunstman Corp., 965 A.2d
           615, 740 (Del. Ch. 2011) (“What matters is the results of operation of the business. Because
           EBITDA is independent of capital structure, it is a better measure of the operational results of the
           business. Changes in Huntsman's fortunes will thus be examined through the lens of changes in
           EBITDA. This is, in any event, the metric the parties relied on most heavily in negotiating and
           modeling the transaction.”); Wavedivision Holdings, LLC and Michigan Broadband, LLC v.
           Millennium Digital Media Systems, L.L.C., C.A. No. 2993-VCS (Del. Ch. Sept. 17, 2010), 2010
           WL 3706624 at *23-*24 (Using EBITDA).

                  Courts also have recognized that EBITDA is an appropriate metric for valuing failed
           businesses. See, e.g., In re Biddiscome International, L.L.C., 392 B.R. 909, 918 (Bankr. M.D.
           Fla. 2008) (“The most common measure of the value of a business is the cash flow approach,
           which measures value based on how much income the business will produce to provide a return




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           on the investment. The value is determined by multiplying the business's earnings before interest,
           taxes, depreciation and amortization, or “EBITDA,” by a certain number that is determined
           based on the type of industry.”).

                   Nothing in the blog post provided to us by opposing counsel refutes any of these points.1
           To the contrary, the blog post supports the conclusion that EBITDA is a well-recognized
           measure of business performance used by investors and lenders.2 Nor does the blog post’s
           recognition that EBITDA can be a misleading indicator of firm performance when a firm
           changes its accounting rules from the initial comparison period warrant rejecting EBITDA. Such
           intentional changes would distort any measure of performance, including those based on GAAP
           or variable profit.

                 The WorldCom case cited by the blog similarly does not support rejection of EBITDA.
           WorldCom’s misclassification of expenses resulted in misstating its financial statements under
           GAAP, which would similarly have distorted measures of both EBITDA and variable profit.3

                   In that regard, it is notable that the blog post does not compare EBITDA with variable
           profit measures of firm performance and thus ignores recognized limitations of variable profit
           measures: Variable profit depends on classification of costs as “fixed” or “variable,” which are
           not standardized or consistent between businesses. To the extent that such classifications are
           necessarily imperfect, those imperfections will distort a variable profit measure of a firm’s
           economic performance. EBITDA, which does not depend on fixed/variable cost classification,
           does not suffer from this flaw. That is why we believe that, in these circumstances, EBITDA is
           an appropriate measure.




           1
             See K. Berman and J. Knight, “How EBITDA Can Mislead,” Harvard Bus. Review blog (Nov.
           19, 2009, 11:34 a.m.).
           2
             Id.
           3
             See In re WorldCom Sec. Litig., 346 F.Supp.2d 628, 641 (S.D.N.Y. 2004) (“WorldCom started
           in 2001 to capitalize WorldCom's line costs. [Management] would review WorldCom's financial
           results toward the end of each quarter in order to decide how much of the line cost expenses to
           capitalize. The capitalization of line costs was unsupported by any contemporaneous analysis or
           records, and was a violation of GAAP. It is undisputed that it constituted fraud.”).




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                        Exhibit J
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 TO:                 Jim Neath, Rick Godfrey, \IVendy B!oom
 FRQivi:             Joe Rice
 DATE:               November 16, 2011
 RE:                 Compensation Framework


We have not responded with a redline document but seek to identify the open
issues.

1.    Salary- In the salary discussion the PSC is relying on the iiliorking Group to
resolve the treatment of the salary cost and is not going to address until the
Working Group completes its work in DC which should resolve the issue.

2.     EBITDA versus variable profit -

      Step 2: The PSC and BP are in agreement the Working Group has reached
substantial agreements on fixed/variable classifications and believe vve should
aiiow them to finalize that this week, and there is no discussion point for us at the
current time.

        Step 1: VJe have discussed the current EBITDA versus variable profit issues
internaiiy and with some security litigation experts. The concern is EBITDA whiie
still an accepted, although heavily criticized, accounting methodology for valuation
of a company, it is not the appropriate starting point for determining economic
injury to an ongoing business.

            BP offered to use as the starting point the average of the adjusted
EBITDA and the variable profit \Nhich generally vvould be vie\Ned as a reasoned
resolution but here that does not work.

           1)    The PSC believes the positions they have taken in the Working
Group have sho'vvn significant compromise to address the concerns the BP \Norking
Group had on the revenue based approach.




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           L)    The average approach here does not use any recognized
accounting standards but is merely an adjustment that doesn't have any basis in
accounting principles.
           3)     The application of the EBITDA approach has shovvn to be much
more time consuming and difficult to calculate.

            4)     \AJe have to provide tools that are user friendly for a!! businesses
and we believe t11at ail businesses can work frorn revenue but many will not be
able to work from EBITDA. Therefore, we stand by our Step 1 approach of
working from the variable profit.
            5)    GCCF does not use EBITDA but uses our approach

3.    Claimant Specific Factor -

      The PSC VI/ants to only use the positive gro'vvth in revenue vvith no cap. BP
has proposed to use both positive and negative growth with a +20/-20 cap/fioor.
The growth rate is being calculated over a very short period of time and is in itself
limiting. It is on!y comparing 2009 to 2010. The overwhelming evidence shows
the expectations foi the touiism season in 2010 Vl/eie high foi the Gulf Coast
coming off the Katrina recovery years. The growth in other comparabie areas
reached record levels in 2010. In light of all of this, we cannot agree to the use of
a negative grO\AJth rate. VVe \AJi!! accept your cap of +20~/o on the grO\AJth rate but
we disregard negative growth rates.

4.    Tourism Factor I Industry Factor-

      The PSC vvants 6.8°/o across the board on the grovvth rate for all industries.
BP has proposed 4% on Tourism only. BP implies their understanding of our
previous position however we do not believe there is a basis for that
understanding. \AJe have stated a!! a!ong that the Gu!f Coast area is driven by the
Tourisrn Industry and the Seafood Industry. For reasons that are obvious in this
negotiation, the PSC has always taken the position that the economy has to be
looked at in light of the principle elements of tourism and seafood. A quick review
of the studies shovv an economic impact that is a multiple of the seafood
catch/landings vaiue. Everything the studies taik about works from seafood and
tourism. Therefore, the PSC reiterates its position that it is an overall industry
number.

      The PSC wiii agree to 5. 5% across the board Growth Rate but wiii not
entertain any proposals that ignore one group of claimants, or that pits one
against the other as is suggested by BP's last proposal.




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TO:              Jim Neath, Rick Godfrey, Wendy Bloom
FROM:            Joe Rice 1 Calvin Fayard
DATE:            November 16, 2011
RE:              Causation Requirements




 We have studied your Economic proposal closely and met with others of our group.
 We appreciate the efforts you have made to try to help bring this to closure and
 vve hope that you likevvise appreciate vvhat vve have done.

 We have growing concerns that the process is very complex and complicated. It is
 true that many business claimants vvi!! have a sophisticated accounting system and
 staff, but vve have to iecognize many vvill not. The PSC pieviously suggested
 accounting assistance be provided by the Fund. The ideas include:

   •    Training sessions for our accountants regiona!!y.
   •    If claimant uses a settlement trained accountant the Fund vvill directly pay
        the accountant with some established fee schedule.
   •    In-house traveling accountants with a duty of loyalty to a claimant.

 In addition to tl1is we need to discuss openly the role of class counsel, post
 settlement. We have to remember that Due Process is required both pre and post
 settlement.

 In responding to your document of November 10th we felt it would be appropriate
 to try to show how narrow the differences are.

 VVe are vvorking from your November 10th memo that uses the Causation Standard
 instead of the so caiied "haircut zones."

      I)     We have added a self-standing agreement concerning the Marketing
 Fund as attachment #2.

        II)   Documentation




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            1)    BP eliminates the use of the State Tax returns because their
experts do not think all states require the necessary information needed to
ca!cu!ate the damages. The PSC vvi!! agree to delete the State Tax return.

              2)   We believe ail other edits address wording or style for
clarification and are not substantive.

      III)   Causation

      1)     BP changes the definition of "Seafood Retailer" to require 25% of total
food costs to be seafood. The PSC vvi!! agree to this.

     2)    In II. A., BP wants 12.5% decline in three months of losses with a
7.5% increase over three months in Zone B & C The PSC wants 5% decline and
5°/o increase over tvi/O months.

            The PSC believes the BP position negates the intent of the use of the
Zones. PSC a!so continues to make it c!ear the !ack of 2010 recovery is subject to
explaination.

      3)     In II. B. 1. and B.2., BP and the PSC both use 5% decline and 3%
return but BP \AJants it three consecutive months and the PSC \AJants it during each
of two consecutive months.

             The PSC believes the BP position negates the intent of the use of the
Zones.

            In "(a)" and "(b)" of the second part of the section, BP wants 5
percentage point decline and a three month period of time. The PSC wants a 5%
decline over t'NO months. The PSC believes the BP position negates the intent of
the use of the Zones.

      4)     In section C, Decline-Only Revenue Pattern:

Dt" uses 12.5% ana a mree month decline as in the v-snaped     pattern. The PSC
uses 5% and two months. The only thing that keeps this claim from satisfying the
V-shaped requirement of Section _A_ is the revenue return did not occur in 2011.
No'vv 'vve have added the burden of establishing vvhy that did not happen and
linking it to non-iocai customers or the tourism trade. We beiieve that is sufficient
nexus without anything further. PSC will go to 7.5% decline at two months.




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           In section 3, we had agreed to use 5% decline and two months. We
                                        11
have deleted "in the ordinary course. This is not a normal business record and
claimants should be a!IO\AJed to create from \AJhatever records they have.

        5)    In section D., we do not think there are any issues.

      6)     In section E., in light of your changing the definition of "Seafood
Retailers," we do not need section E here (Zone A, B & C).

      7)    In section F. 1 BP proposes a $50 1 000 cap on the base revenue claim in
order to be able to qualify under Section F. The PSC 'Nil! agree to $150,000.

     8)    In III. A., we are in agreement, except you deleted the possibility of
2011 not increasing, and we added that back.

        lj) In III. B., t:H"' wants 5 percentage po1nrs ana rnree months. The PSC
wants 5% decline and three months. If we reach agreement in Zone Band C then
here we wi!! agree to go to your 5 percentage points and three months.

      lUJ In III. C., BP wants iS% and three months. The PSC wants 7.5% and
three months. We have already agreed to your 5 percentage point approach in
paragraph C(3) here versus 5°/o decline. In order to c!ose this item the PSC vvi!!
agree to a 10°/o decline with three months and the 5 percentage point.

        11)   On D., we have no changes

        12)   In section E., vve are out of Zone A, B & C, and this section is required
here.

        13)   In section F., '-Ne agree to $150,000 base c!aim cap.




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                          Compensation Framework for Business Economic Loss Claims (2/8/2012) BP

           The compensation framework for business claimants compares the actual profit of a business during a
           defined post-spill period in 2010 to the profit that the claimant might have expected to earn in the
           comparable post-spill period of 2010.1 The calculation is divided into two steps:

                   Step 1 – Compensates claimants for any reduction in profit between the 2010 Compensation
                   Period selected by the claimant and the comparable months of the Benchmark Period. Step 1
                   compensation reflects the reduction in Variable Profit (which reflects the claimant’s revenue
                   less its variable costs) over this period.

                   Step 2 – Compensates claimants for incremental profits or losses the claimant might have been
                   expected to generate in the absence of the spill relative to sales from the Benchmark Period.
                   This calculation reflects a Claimant Factor that captures growth or decline in the pre-spill
                   months of 2010 compared to the comparable months of the Benchmark Period and a General
                   Adjustment Factor.

           For purposes of the two step calculation, the parties have agreed to a defined list of fixed and variable
           expenses as reflected in Attachment A.

           In order to allocate payroll expenses (including Salaries and Wages, Employee Benefits, and, where
           applicable, 401K Payments, but excluding Owner/Officer Compensation) into fixed and variable
           components, a minimum level of fixed payroll costs will be measured based on the average of the two
           months between May 2010 and December 2010 in which the claimant had its lowest payroll costs.
           Certain exceptions are identified below for identifying months with the claimant’s lowest payroll costs.

           For claimants that include Cost of Goods Sold (COGS) in their financial statements, COGS will be treated
           as a variable expense after excluding, to the extent possible, the following cost items which may be
           embedded in COGS and are likely to be fixed in nature: Fixed COGS Payroll, Amortization, Depreciation,
           Insurance Expense, Interest Expense, and Contract Services.

           Based on these considerations, the resulting calculations are performed to determine compensation for
           claimants.

          I.    Definitions

           For the purposes of this calculation, the following are defined terms:

           Compensation Period: The Compensation Period is selected by the Claimant to include three or more
           consecutive months between May and December 2010.2


           1
             This Compensation Framework for Business Claims does not apply to (i) start-up businesses; (ii) failed businesses;
           (iii) and developers. Compensation frameworks for these types of businesses will be presented separately.
           2
              The use of different compensation periods for seafood and related water-driven businesses remains under
           discussion.

                                                                    1


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           Benchmark Period: The Benchmark Period is the pre-spill years which claimant chooses as the baseline
           for measuring its historical financial performance. The claimant can select among the following
           Benchmark Periods: 2009, the average of 2008-2009, or the average of 2007-2009.

           Claimant-Specific Factor: In order to capture the impact of pre-spill trends in the claimant’s revenue
           performance that might have been expected in the post-spill period, Benchmark Period revenue will be
           adjusted by a Claimant-Specific Factor. The following steps will be used to compute the Claimant-
           Specific Factor:

                       A. Calculate the difference between claimant’s total revenue for January through April
                          2010 and total revenue in January through April of the Benchmark Period.

                       B. Divide the revenue change calculated in Step A by total revenue in January through April
                          of the Benchmark Period to derive the Claimant-Specific Factor. If the calculated
                          Claimant-Specific Factor falls below -2% or exceeds +10%, then it will be set at -2% or
                          +10%, respectively.

           General Adjustment Factor: All Claimants shall be entitled to a 2.0% General Adjustment Factor.

           Variable Profit: This is calculated for both the Benchmark Period and the Compensation Period as
           follows:

               1. Sum the monthly revenue over the period.
               2. Subtract the corresponding variable expenses from revenue over the same time period.
                  Variable expenses include:
                  a. Variable Costs as identified in Attachment A.
                  b. Variable portion of salaries, calculated as described below in the definition of Fixed and
                      Variable Payroll Expenses.
                  c. Variable portion of COGS, calculated by excluding salary costs (which are discussed below in
                      the definition of Fixed and Variable Payroll Expenses) and fixed expenses included within
                      COGS, including Amortization, Depreciation, Insurance Expense, and Interest Expense and
                      Contract Services.

           Variable Margin: This is calculated only for the Benchmark Period and is calculated as follows:

                   1. Sum Variable Profit from May-December of the Benchmark Period.
                   2. Sum total revenue from May-December of the Benchmark Period.
                   3. Divide Variable Profit by total revenue from May-December of the Benchmark Period to
                      calculate Variable Margin percent.

           Fixed and Variable Payroll Expenses : Fixed and Variable Payroll Expenses are calculated based on the
           understanding that every business must operate with a minimum core staff and are defined using


                                                               2


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           monthly profit and loss statements and/or those documents listed in the Documentation Requirements
           for Business Claims, for May through December 2010. Fixed and Variable Payroll expenses are
           calculated as follows:

                1. Obtain monthly amounts for the following payroll expenses (excluding Owner/Officer
                   Compensation): (a) Salaries & wages; (b) Payroll taxes (including FICA, workers compensation,
                   unemployment insurance); (c) Employer costs for employee benefits. Calculations include
                   components of salaries and related expenses included in both Selling, General & Administrative
                   Expenses (“SG&A”) and COGS.
                2. Sum these payroll expenses on a monthly basis to determine the Total Payroll Expense for each
                   month.
                3. Identify the two months between May and December 2010 with the lowest Total Payroll
                   Expense.

                        •  Months in which the claimant has zero revenue, zero non-officer payroll expenses, or
                           the business is closed, will be excluded from this calculation.
                4. Define “Fixed Payroll Expenses” as the average payroll expense over the two months with the
                   lowest Total Payroll Expense.
                5. For any month with Total Payroll Expenses less than Fixed Payroll Expenses, all payroll costs will
                   be considered fixed expenses.
                6. For any month with Total Payroll Expenses greater than Fixed Payroll Expenses, the excess
                   amount of Total Payroll Expenses will be considered variable expenses.

           Incremental Revenue: Revenue in the selected Benchmark Period for the months corresponding to the
           Compensation Period is multiplied by the Claimant-Specific Factor and the General Adjustment Factor to
           calculate Incremental Revenue. This represents the projected change in revenue over the Compensation
           Period, compared to the Benchmark Period.


         II.    Description of Compensation Calculation

           Step 1 Compensation

           Step 1 of the compensation calculation is determined as the difference in Variable Profit between the
           2010 Compensation Period selected by the claimant and the Variable Profit over the comparable
           months of the Benchmark Period.

           As noted above, the Compensation Period is selected by the Claimant to include three or more
           consecutive months between May and December 2010.




                                                                3


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           For claimants that participated in the VoO program, Variable Profit in the Compensation Period will
           exclude revenue generated by or costs incurred in connection with VoO.3

           Step 2 Compensation

           Using monthly profit and loss statements and/or those documents listed in the Documentation
           Requirements for Business Claims:

           (1)     Calculate total revenue in the claimant-selected Benchmark Period for the months
                   corresponding to the Compensation Period.

           (2)     Calculate the Claimant-Specific Factor.

           (3)     Calculate Incremental Revenue.

           (4)     Multiply Incremental Revenue by the Variable Margin4.

           Total Compensation

           Total Compensation is calculated as follows:

           (1)     Add Step 1 Compensation to Step 2 Compensation.

           (2)     Apply the agreed-upon Risk Transfer Premium (RTP).

           (3)     Subtract from the sum of Step 1 Compensation and Step 2 Compensation any payments
                   received by the claimant from BP or the GCCF pursuant to BP’s OPA claims process, as well as
                   any VoO Settlement Payment Offset and VoO Earned Income Offset, where applicable.




           3
             Claimants are required to report payments received under the VoO program. If claimants that received VoO
           payments fail separately to report costs incurred in VoO and non-VoO activities, then Step 1 Compensation for
           non-VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between
           VoO and non-VoO related activities.
           4
             If a multi-year Benchmark Period is used, then the average Variable Margin over this period is used in the
           calculation.

                                                                  4


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pwc
        _.        {In Archive} Business Economic Loss Framework
                  Charles R. Hacker to: Rice, Joe
                  Cc: Mark Staley, Robin Pilcher, Bill Potter, Ted Martens, "Cantor,
                                                                                        04/04/2012 11 :10 PM

                       Daniel"
                  Bee: Katherine Torres, Emily F Kent, Thomas J Frangella, John J.
                       Petzold

From:          Charles R. Hacker/US/FAS/PwC
To:            "Rice, Joe" <jrice@motleyrice.com>
Cc:            Mark Staley <mstaley@pncpa.com>, Robin Pilcher <rpilcher@pncpa.com>, Bill Potter
               <bpotter@pncpa.com>, Ted Martens/US/FAS/PwC@Americas-US, "Cantor, Daniel"
               <Daniei.Cantor@APORTER.COM>
Bee:           Katherine Torres <ktorres@pncpa.com>, Emily F Kent/US/FAS/PwC@Americas-US, Thomas
               J Frangella/US/FAS/PwC@Americas-US, John J. Petzold/US/FAS/PwC@Ame1icas-US
Archive:             This message is being viewed in an archive.


Joe-

As you requested at our meeting last week, attached please find questions and observations from the
accountants in connection with the business economic loss framework. The comments are from both
PwC and Postlethwaite & Netterville.

After you get a chance to review, we would be glad to discuss with you in detail.

Chuck




Framework_Recommendations_4_4_2012[1].docx
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               Business Economic Loss Framework Observations
Appendix 4.A Business Documentation Framework
Note: We would like to comment further on the documentation appendix upon review of the claims form,
when received.

       Do the affidavits need to be signed by anyone more than the claimant (i.e. attorney, notary,
       etc.) if not specified otherwise?

       4A.1 The specific criteria delineating a business claimant from an individual claimant should be
       added here.

       4A.8. Payments from Real Estate Fund should be added to the current list.

       4A.9 The year should be explicitly stated in this sentence (e.g., Additional documentation for
       claimants with annual revenue of $75,000 or less "in 2009" which seek to establish causation on
       the basis of a Causation Proxy Claimant.

Appendix 4B Business Compensation Framework
      Were alternative causes of losses not directly related to the Spill considered? Under the
      proposed Compensation Framework for Business Economic Loss Claims (the "Framework"),
      unless specifically addressed on a claim by claim basis, revenue fluctuations due to hurricanes,
      change in location of business, change in customer base, floor plan expansion, change in
      product/service offering, and any other alternative causes of losses not directly related to the
      Spill may or may not impact the loss calculation.

       Under the Framework, the results of using revenues as the only metric to measure losses for
       businesses that are driven primarily by volume (e.g., gas stations, utility companies, lodging)
       may be skewed by the impact of underlying non-loss related price fluctuations.

       Claimants may select what they believe to be the most favorable Benchmark Period utilizing
       only revenues. This may not result in the highest Business Economic Loss determination, as the
       impact of variable expenses must also be considered. Is it the intent of the parties to Jet the
       accountants use a Benchmark Period, other than the one selected by the Claimant, if it results in
       a more favorable claim amount? This is unclear in the current version of the framework we have
       reviewed.

       Can the benchmark period for causation be different from the benchmark period for the
       compensation calculation?

       We recommend applying the Variable Margin percent calculated in Step 2 (see page 2) to
       revenue in order to calculate Variable Profit in Step 1 (see page 1), as opposed to deducting
       variable costs from revenue. This will:

               1.   Minimize the potential impact of non-representative variable expenses derived from
                    using only a limited number of months;



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               2.   Have the potential of more accurately matching revenue with expenses by
                    consistently using a longer base period; and

               3.    Reduce the amount of work required to complete Step 1 {as the Variable Margin
                    already needs to be calculated in Step 2) as well as the amount of work required for
                    the claimant to calculate the highest Business Economic Loss.

       In determining the Claimant-Specific Factor, a four month base period {January -April) may or
       may not be long enough to adequately project a trend for a potential eight-month loss period.
       Additionally, the months of January through April typically represent the off-peak season for
       most claimants, which may not reflect an adequate level of sales activity to accurately measure
       the anticipated growth of the peak season {e.g. May through October). The Framework should
       be expanded to include the consideration of longer base period{s) {e.g., 6-month; 8-month; and
       12-month).

Appendix 4C Business Causation Framework
      4C.II.E. and 4C.III.F. The year should be explicitly stated in this sentence {e.g., Additional
      documentation for claimants with annual revenue of $75,000 or less "in 2009" which seek to
      establish causation on the basis of a Causation Proxy Claimant.

       The concept of the Customer Mix test presents the following concerns and these concerns
       should be considered in the execution and efficiency of the test:
          o Difficulty for claimant in providing documentation {i.e. Cash transactions are considered
               in total revenue, but are unable to be identified by specific customer);
          o Verifying the completeness and accuracy of the documentation may prove difficult;
          o Not efficient for an accountant with "shoebox" method of handling receipts; and
          o Documentation for distance requirements {i.e. local vs. nonlocal) is not typically
               maintained in the ordinary course of business and may be difficult for the claimant {or
               accountant) to create.

       The following terms appear in the Framework and need further clarification/consideration:
           o Urban Area vs. Urban Cluster {A Rural customer is one located in an area outside the
                Urban Area or Urban Cluster, as defined by the US Census Bureau's classification in
                Attachment 4C.II.E and 4C.III.F. Urban Areas or Urban Clusters need further explanation
                within the Framework.)
           o Wholesaler vs. Retailer {Wholesaler and Retailer definitions are set forth in the "Seafood
                Distribution Chain Definition" document, which has not yet been provided to PwC/P&N.
                These were not defined in the framework.)

       The verbiage in the Framework presents, for example, a "Down" percentage of 8.5% and an
       "Up" percentage of 5%. However, Exhibit A on page 10 presents the reciprocal of an "Up"
       percentage of -8.5% and a "Down" percentage of 5%. Consider reversing the table headings
                                              11
       from "Up" and (/Down" to "Down" and Up".

       If a claimant does not meet the revenue v-test, modified v-test, or decline only requirements,
       and does not provide documentation to establish causation on the basis of cancelled




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       contracts/reservations, etc., is it the expectation of the parties the claim should be denied or
       marked deficient?

Appendix 40 Attachment A- Fixed and Variable Costs
      Many items such as repairs and maintenance and certain taxes are typically grouped together
      on P&L expense categories without further explanation or breakout. Of particular note on this
      appendix some items such as repairs and maintenance and taxes and licenses/property
      taxes/payroll taxes/unemployment taxes, etc. were listed having components of both a fixed
      and variable nature requiring a further breakout.
       If these items are not broken out on the P&Ls provided by the claimant, should the accountant
      use judgment to allocate to the expense categories or should the claim be put on hold to obtain
      more information from the claimant? Many claimants may not be able to provide a breakout to
      distinguish between certain items, and it may be difficult for them to create.

       Should expenses be considered if they do not appear on this list or is the list intended as an all-
       encompassing list of allowed costs for each claim? Adding verbiage to indicate the intent would
       provide additional clarity.

Appendix 5 Multi-Facility Business Framework
        A "Multi-facility Business"... at its option, elect to file separate claims for each "Facility" as
        defined below, or may elect to file a consolidated claim for all Facilities. The claimant may not,
        however, elect to file a claim for any combination of Facilities comprising a subset of the
        claimant's Facilities". According to footnote #1, this is still a point of contention between parties
       -has this been settled?

       Page 2: "The damage methodology set forth in the Compensation Frameworks for Business
       Economic Loss Claims shoJI be applied to each Claiming Facility, subject to the following
       modification:      All direct expenses associated with the Claiming Facility in the
       contemporaneously-prepared P&L statements, and only such expenses, must be included in the
       calculation." It appears that relevant variable expenses incurred at the corporate level may be
        excluded from the loss calculation. Is that the intent here?

        It may be helpful to provide an example in the Framework to illustrate the above. (I.e. If a large
        grocery store has 200+ locations across the US and 20 locations across the Gulf are preparing to
        file a claim what combination of business/separate claims can be pursued according to the
        Framework?)

        As a point of interest, if the claimant chooses to file by separate locations, the opportunity to
        offset any gains is lost.

Appendix 6 Failed Business Framework
      A failed-start up is defined as a business, which among other things, starts on or after 11/1/2008
      (Appendix 6, page1). However, a start-up is defined as a business has less than 18 months of
      operating history prior to the spill, which if taken literally would mean October 19, 2008- April
      19, 2010 (Attachment 7, page 1). These dates are conflicting. Can some clarification of verbiage
      be applied to the definition of both types of start-up Frameworks?



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               SUBJECT TO SETTLEMENT DISCUSSIONS CONFIDENTIALITY AGREEMENT
                                          4/4/12

       Footnote #1 in attachments 6 notes this appendix does not apply to property development
       and/or construction businesses. Will these types of businesses be considered in a compensation
       Framework yet to be determined or just excluded?

       This Framework makes mention for the need of projections/forecasts. Projections are based on
       a fixed set of assumptions whereas a forecast would be the best estimate of what should take
       place in the market considering external economic factors. Any and all references to
       "projections" should be replaced with "forecasts" if the intent would be to estimate what would
       reasonably take place under the given market conditions.

Appendix 7 Start-Up Businesses Framework
      Footnote #1 in attachment 7 notes this appendix does not apply to property development
      and/or construction businesses. Will these types of businesses be considered in a compensation
      Framework yet to be determined or just excluded?

       This Framework makes mention for the need of projections/forecasts. Projections are based on
       a fixed set of assumptions whereas a forecast would be the best estimate of what should take
       place in the market considering external economic factors. Any and all references to
       "projections" should be replaced with "forecasts" if the intent would be to estimate what would
       reasonably take place under the given market conditions.

Note on Individual Frameworks: The lost avoiloble copy is doted 2/28/2012. Is a more recent draft
available?
Appendix SB Addendum to Individuals Framework- Benefits Losses
        Are disability income insurance benefits and/or long-term care insurance benefits covered?
        These benefits are not specifically addressed under "Health Insurance".

Appendix 80 Addendum to Individuals Framework - Interviews of Claimants Alleging Individual
Economic Loss and Other Individuals Providing Sworn Statements in Support of Such a Claim
      Our copy states "Still in Negotiation", is a more recent copy available?

Other Comments
      Class Counsel should coordinate directly with the relevant state agencies (i.e., Louisiana
       Department of Wildlife and Fisheries, Florida Fish and Wildlife Conservation Commission, etc.)
       to obtain historical Marine Fishery Trip Tickets on behalf of all claimants.       Obtaining this
       information has proven to be problematic for claimants in the past, as it requires the claimant to
       make a visit to the relevant state agency to make an in-person request for the documentation.

       To the extent possible, leverage off work previously performed, including but not limited to
       review of the "pilot" claims used to test the compensation framework for business economic
       Joss claims in an effort to develop training materials, which can be shared for both internal
       training of newly hired accounting staff and external training for professional claims pre parers.




                                                                                                  Page 4
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                       Exhibit N
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From:                     Rice, Joe
To:                       Bloom, Wendy L.: Godfrey. Richard C.
CC:                       calvinfayard@fayardlaw.com; sherman@hhkc.com; Jim Roy; Elizabeth Cabraser;
                          jeflrey.lennard@snrdenton.com; Wallace, Benee; Rice, Joe
Sent:                     411012012 6:20:56 PM
Subject:                  BP Oil- Comments to Document updates from Wendy Bloom April 9 & 10, 2012




This is an update as of 1:30pm Eastern, Tuesday, April101r_
   I. Causation Requirements For Business Economic Loss Claims:
        This document was in the done bucket and is attached to the AI P. Today BP has submitted a new version
        under Bates #027623- 027636. The finalized version that is in the AI P is dated March 1, 2012. From a
        review of the document, the following changes have been requested.
        1)   On page 27623, 1(2), strike "·Commercial Fisherman," or." Joe would agree to this.
        2)    In II. the proposed change is to strike "loss occurred" and insert "are located." Joe is not agreeable to that
             change.
        3)    Footnote #1 at the bottom of the page, the request is to strike "developers" and insert "entities, individuals
             or claims not included within the Economic Class definition." Joe is not agreeable to this change. The
             second change in this paragraph is to strike "Causation requirements for these types of business economic
             loss claims will be presented separately'' Joe is agreeable to strike that phrase.
        4)    On page 027627, under Ill. Causation Requirements for Zone D. the proposed change is to strike "loss
             occurred" and insert "are located." Joe is not agreeable to that change.
        Those are the only changes I noted on the proposed pages. Please bring to my attend if I missed anything
        else.
   II. Framework for Individual Economic Loss Claims:
        The PSC had signed off on the document with the only open issue being the use of economic loss. We
        proposed in the last draft, which was circulated on April51h, to JUSt use the term that has been adopted in the
        drafting of loss earnings income or profit, and that change was proposed on page 7 definition P. That was the
        only issue of contention between the parties as of April 5th

        Today Wendy has circulated an April 9th, 2012 draft from BP, bearing Bates #027651 - 027702.
        These are my responses to her proposed changes:
        1)   I am disappointed with trying to make significant changes at this late date.
        2)   In paragraph P on 027657, I will not agree to the insertion of the phrase ·'from a Claiming Job."
        3)   On page 027668 in paragraphs 5 and 7, the deletion of the word "Commission" is acceptable.
        4)   That same change occurs on page 027677, and it is acceptable there as well.
        5)    On page 027693, the additions to add the Non-Recurring Event Compensation back in for Category 3 in
             paragraph 5 and 7 ara acceptable.
        6)    On page 027701, the addition to Step 3 is acceptable because it makes the S20,000 still the cap, which
             was the agreement.
        7)   On page 027702, the four insertions of the words "from the Claiming Job" are not acceptable.
  Ill. Coastal Real Property Claims and Wetlands:

        By April91c memo Wendy wanted to insert the phrase, "The use of environmental data ... " through" ..
        resource damages." Joe has no objection to this inclusion if Calvin, Caroline, and John are okay with it.
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   IV. Compensation Framework for Vessel Physical Damage Claims:
           BP sent a draft of April 9. 2012. bearing Bates 027598-027609. These are my comments.

            1)    I. Eligibility Requirements (ii), strike the words ··or pursuant to an insurance policy covering the Eligible
                 Vessel." The reason to strike this is, it is covered by subrogation, if it exists. and if we were going to allow
                 you to claim this collateral source you would still be responsible for the deductibles and would have to write
                 all that in. Since it is covered by subrogation it doesn't need to be here.

           2)     Definition C, Physical Damage, add a second sub-paragraph, "ii) Damage to nets, rakes, traps, or other
                 gear used in the harvesting of Seafood." Add to the end of sub-paragraph (i) the word "Or," so it would be
                 (i) Or (ii). The document as now drafted does not include the damage that would have been suffered when
                 nets received heavy doses of oil from bringing stuff up off of the bottom or dragging it through a plume.
                 This leads to point number 3.
           3)    The scope of the timing of the physical damage should be changed from April2010 to December 2011.
                 With that change to 2011 that date has to be changed in the claim form in question 1, and then in the
                 Documentation Requirements in question 2, and on the Verification in the lead-in paragraph.


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dictated but not read



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